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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                  Plaintiffs,

         v.                            19 Civ. 8876 (JSR)

UNITED STATES IMMIGRATION
AND CUSTOMS ENFORCEMENT,
et al.,

                  Defendants.



 PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
                     MOTION TO DISMISS
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                                        INTRODUCTION

       An effective court system is a critical aspect of state sovereignty—one that is essential to

ensuring that crimes are prosecuted, victims receive relief, and justice is done on behalf of the

State’s residents. In 2017, Defendants—the U.S. Department of Homeland Security (DHS), its

sub-agency U.S. Immigration and Customs Enforcement (ICE), and the heads of DHS and

ICE—implemented a policy that threatens New York’s sovereign interests by disrupting the

effective functioning of New York’s courts and hindering both criminal and civil proceedings.

That policy, reflected in ICE Directive Number 11072.1 (the Courthouse Civil Arrest Directive,

Dkt. 1-1), authorizes ICE agents and officers to conduct civil immigration arrests in and around

New York courthouses. Since ICE issued the Directive, the number of arrests at or near New

York’s courthouses has soared, causing witnesses and parties to miss court appearances,

deterring victims from seeking judicial relief or cooperating with prosecutors and police, and

impairing prosecutors’ ability to obtain justice for the New Yorkers they serve.

       Plaintiffs the State of New York and the Kings County District Attorney brought this

lawsuit to halt this serious intrusion into the State’s sovereign prerogative to maintain its

judiciary and prosecute crimes. Plaintiffs claim (1) that the Directive exceeds ICE’s statutory

authority, in violation of the Administrative Procedure Act (APA), because Congress never

intended to authorize ICE to interfere with state judicial proceedings or to disregard the well-

settled common-law privilege against civil arrests in or near courthouses; (2) that the Directive is

arbitrary and capricious because Defendants issued it without considering the severe impact that

arrests in or near courthouses would have on state judiciaries and prosecutors; and (3) that the

Directive’s interference with core sovereign functions violates the Tenth Amendment.

       Defendants seek to dismiss Plaintiffs’ claims based on sweeping theories about their

immunity from any judicial review and their unfettered authority to seize noncitizens wherever
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they may be. Defendants’ arguments make no allowance for New York’s sovereign interest in

the effective functioning of its courts, except for whatever limits Defendants may voluntarily

choose to follow. Neither federal law nor the Constitution permits Defendants to so disregard

the core state interests at issue here. This Court should deny the motion to dismiss.

                                   STANDARD OF REVIEW

       While Plaintiffs bear the burden of establishing subject-matter jurisdiction, Lujan v. Defs.

of Wildlife, 504 U.S. 555, 561 (1992), they “need only make a prima facie showing,” Robinson v.

Overseas Military Sales Corp., 21 F.3d 502, 507 (2d Cir. 1994). The Court should “construe

jurisdictional allegations liberally and take as true uncontroverted factual allegations.” Id.

       Under Rule 12(b)(6), Plaintiffs need allege only “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is

facially plausible when the plaintiff pleads “enough factual matter (taken as true)” to allow the

court to draw the reasonable inference that the defendant is liable. Id. at 556.

                                           ARGUMENT

I.     Defendants’ motion to dismiss Plaintiffs’ APA claims should be denied.

       A.      Plaintiffs’ APA claims are within the relevant zone of interests regulated by
               the Immigration and Nationality Act.

       Defendants’ contention that Plaintiffs are outside the “zone of interests” regulated by the

Immigration and Nationality Act (INA) is without merit. The zone-of-interests test is not

“especially demanding,” particularly where, as here, Plaintiffs sue “under the generous review

provisions of the APA.” Lexmark Int’l v. Static Control Components, 572 U.S. 118, 130 (2014)

(quotation marks and citation omitted). The test “does not require the plaintiff to be an intended

beneficiary of the law in question,” but rather allows entities “who are injured” by an alleged

violation of law to seek redress. Citizens for Responsibility & Ethics in Wash. (CREW) v.



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Trump, 939 F.3d 131, 158 (2d Cir. 2019). “[T]he benefit of any doubt goes to the plaintiff.”

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012).

       Here, Defendants do not contest Plaintiffs’ allegations—which must be taken as true on

this motion to dismiss—that they have been injured by Defendants’ unlawful authorization of

ICE civil arrests in and near New York courthouses. See Compl. ¶¶ 46-51, 106-16, 121-34. The

Courthouse Civil Arrest Directive injures New York’s sovereign interests because it “disrupts the

effective functioning of our courts, deters victims and witnesses from assisting law enforcement

and vindicating their rights, hinders criminal prosecution, and undermines public safety.” Id. ¶ 1.

And the Directive causes economic harm by squandering state resources, id. ¶¶ 2, 18, 66—the

precise type of “secondary economic injuries due to conduct that violates a limiting law” that

“can satisfy the zone of interests test, notwithstanding that the statute violated was not intended

to protect against the type of injury suffered by the plaintiffs,” CREW, 939 F.3d at 154. While

Defendants assert that the INA authorizes such arrests (Defs.’ Mem. (Mem.) 7-8), that argument

goes to the merits of Plaintiffs’ claims (see infra at 12-16), not to the threshold question whether

Plaintiffs can seek redress for their injuries. See CREW, 939 F.3d at 153 (distinguishing between

merits and jurisdictional questions).

       On similar allegations about the effects of the Courthouse Civil Arrest Directive, a

federal district court in Massachusetts has recognized that prosecutors and other “participants in

the state civil and criminal justice systems” are within the INA’s zone of interests—and so could

challenge the Directive—because the INA reflects Congress’s “preference that federal

immigration enforcement not impede state criminal law enforcement.” Ryan v. U.S. Immigration

& Customs Enf’t, 382 F. Supp. 3d 142, 156 (D. Mass. 2019), appeal filed, No. 19-1838 (1st Cir.

Sept. 5, 2019). Similarly, a judge of this Court held just a few weeks ago that the State of New




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York and other governmental plaintiffs “plainly fall within the INA’s zone of interests” because

“[t]he interests of immigrants and state and local governments are inextricably intertwined.

Among a state government’s many obligations are representing and protecting the rights and

welfare of its residents.” New York v. U.S. Dep’t of Homeland Sec., No. 19-cv-7777, 2019 WL

5100372, at *5 (S.D.N.Y. Oct. 11, 2019), appeals filed, Nos. 19-3591, 19-3595 (2d Cir. Oct. 31,

2019).

         So too here: the State of New York and the Kings County District Attorney seek to

protect the rights and welfare of their residents by invalidating a federal government policy that

is alleged to exceed Defendants’ authority under the INA. Plaintiffs’ interests in effective law

enforcement and the proper functioning of their court system are not so “marginally related” as

to bring Plaintiffs outside of the “lenient” zone-of-interests test. Lexmark, 572 U.S. at 130; see

also Texas v. United States, 809 F.3d 134, 163 (5th Cir. 2015) (States’ role in administering

public benefits put them in INA’s zone of interests), aff’d by an equally divided court, 136 S. Ct.

2271 (2016); Batalla Vidal v. Nielsen, 291 F. Supp. 3d 260, 269 n.3 (E.D.N.Y. 2018) (States’

proprietary interests put them in INA’s zone of interests), cert. before judgment granted sub

nom. McAleenan v. Vidal, 139 S. Ct. 2773 (2019).

         Defendants’ sole authority for the proposition that Plaintiffs are outside the zone of

interests is a non-precedential in-chambers stay order by a single Justice that involved the

Immigration Reform and Control Act of 1986. See Mem. 8-9 (quoting INS v. Legalization

Assistance Project, 510 U.S. 1301 (1993) (O’Connor, J., in chambers)). But the stay in

Legalization Assistance was based on Justice O’Connor’s conclusion that the plaintiffs there

lacked standing, 510 U.S. at 1305, under an approach that the Supreme Court later

“unambiguously rejected,” CREW, 939 F.3d at 153-54 (citing Lexmark, 572 U.S. at 126-28 &




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n.4); see E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 769 n.10 (9th Cir. 2018) (rejecting

government’s reliance on Legalization Assistance); Al Otro Lado, Inc. v. Nielsen, 327 F. Supp.

3d 1284, 1298-1302 (S.D. Cal. 2018) (same).

       Defendants also err in arguing (Mem. 7-8) that Plaintiffs are outside the INA’s zone of

interests because individual arrestees may challenge the conditions of their arrest. The zone-of-

interests test requires neither an indication that Congress specifically intended “to benefit the

would-be plaintiff” nor that “the plaintiff itself [be] the subject of the contested regulatory

action.” Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 399-400 (1987); see CREW, 939 F.3d at 158

(same). That Congress provided a remedy for arrestees to challenge the lawfulness of their

arrests thus does not foreclose other parties injured by Defendants’ policy from seeking relief.

       B.      The Courthouse Civil Arrest Directive is reviewable.

       This Court should reject Defendants’ argument (Mem. 9-11) that Congress has vested

ICE with wholly unreviewable discretion to conduct civil immigration arrests in and near state

courthouses. The APA’s narrow exception to judicial review for decisions “committed to agency

discretion by law,” 5 U.S.C. § 701(a)(2), applies only in the “rare instances” where Congress has

provided “clear and convincing evidence” that it vested an agency with unfettered discretion,

Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971) (quotation marks

omitted). The Supreme Court recently reaffirmed that this exception to the presumption of

reviewability should be applied “quite narrowly.” Dep’t of Commerce v. New York, 139 S. Ct.

2551, 2568 (2019) (quotation marks omitted). Defendants fail to meet the stringent standard for

establishing non-reviewability here.

       Defendants have identified no provision of the INA that expressly shields their arrest

policies from judicial review. Cf. Webster v. Doe, 486 U.S. 592, 601 (1988). Instead,

Defendants argue (Mem. 9-10) that the INA provides no “meaningful standard” to evaluate the


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validity of ICE’s Courthouse Civil Arrest Directive because the statute imposes no constraints on

their arrest authority. This argument simply begs the question on the merits. Plaintiffs’

complaint alleges that the INA’s civil-arrest provisions do constrain ICE because Congress

(a) necessarily incorporated the preexisting common-law privilege forbidding civil arrests in or

near courthouses, and (b) more generally preserved respect for the States’ sovereign right to

operate their judicial systems free from federal interference. See Compl. ¶¶ 121-29; see also

infra at 11-25. Although Defendants disagree with that interpretation of Congress’s intent, that

dispute goes to the merits. As for reviewability, however, Defendants’ argument fails because, at

a minimum, Plaintiffs allege APA claims that the Court can assess “according to the general

requirements of reasoned agency decisionmaking.” Dep’t of Commerce, 139 S. Ct. at 2568-69.

Defendants improperly assume the validity of their own statutory interpretation in arguing for

wholly unreviewable discretion to conduct civil immigration arrests as they see fit.

       More generally, nothing in the INA shows that Congress intended to allow ICE to

conduct civil immigration arrests without the critical protections that judicial review provides—

particularly when state sovereign interests are paramount. See infra at 23-25. Although the INA

may “leave much to the [agency’s] discretion,” it does “not leave [this] discretion unbounded,”

Dep’t of Commerce, 139 S. Ct. at 2568. In authorizing civil immigration arrests, Congress

included in the INA a number of restrictions that are judicially enforceable, including the

requirement that the alien be present in violation of a law or regulation regarding the admission

or removal of aliens, and the requirement that the alien be “likely to escape before a warrant can

be obtained.” 8 U.S.C. § 1357(a)(2). In fact, Defendants effectively concede that there are

judicially enforceable limits to ICE’s civil-arrest authority by acknowledging (Mem. 7-8) that

individual arrestees may challenge the lawfulness of their arrests in removal proceedings. Thus,




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far from providing “clear and convincing evidence” of Congress’s intent to preclude judicial

review, Overton Park, 401 U.S. at 410, the INA shows that Congress anticipated such review.

       Contrary to Defendants’ argument (Mem. 8), Congress’s recognition of Defendants’

“discretionary judgment” to decide whom to detain, release, or grant or deny bond or parole,

8 U.S.C. § 1226(e), is irrelevant here because Plaintiffs do not challenge any such judgment. As

the Supreme Court recently held, § 1226(e) precludes an alien from challenging an individual

detention or release decision, but it does not preclude broader challenges to “the extent of the

Government’s . . . authority under the ‘statutory framework’ as a whole.” Jennings v. Rodriguez,

138 S. Ct. 830, 841 (2018). Here, too, Plaintiffs “mount that second type of challenge,” id.—that

is, Plaintiffs contend that Defendants lack general statutory authority to conduct civil arrests in or

near state courthouses, see Compl. ¶¶ 106-34. Section 1226(e) is no barrier to such a claim. 1

       Defendants also misplace reliance (Mem. 9-10) on Heckler v. Chaney, 470 U.S. 821

(1985), which involved a decision by the Food and Drug Administration not to institute an

enforcement proceeding. There, the Supreme Court held that the refusal to take enforcement

action was presumptively unreviewable because reviewing inaction would require judging

whether the agency had wisely chosen to conserve its resources against a potentially infinite

array of opportunity costs. Id. at 831-32. That holding undermines Defendants’ argument

because Heckler expressly distinguished an agency’s refusal to take enforcement action from an



1
 Defendants thus misplace reliance (Mem. 10-11) on cases holding that specific enforcement or
charging decisions are unreviewable under the APA. Those cases involved challenges to
particular citations issued by the Secretary of Labor. See Speed Mining, Inc. v. Fed. Mine Safety
& Health Review Comm’n, 528 F.3d 310, 316-19 (4th Cir. 2008); Sec’y of Labor v. Twentymile
Coal Co., 456 F.3d 151, 157-58 (D.C. Cir. 2006). The Supreme Court has made clear that such
specific enforcement or charging decisions fall within a distinct “categor[y] of administrative
decisions that courts traditionally have regarded as ‘committed to agency discretion.’” Lincoln v.
Vigil, 508 U.S. 182, 191 (1993). But the Court has not treated as unreviewable the question
whether a general agency policy has altogether exceeded the agency’s statutory authority.


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agency’s affirmative act, which “provides a focus for judicial review” and “at least can be

reviewed to determine whether the agency exceeded its statutory powers,” id. at 832—precisely

what Plaintiffs allege here.

       C.      The Courthouse Civil Arrest Directive is final agency action.

       Applying a “pragmatic” and “flexible” approach, Abbott Labs. v. Gardner, 387 U.S. 136,

149-50 (1967), this Court should conclude that the Courthouse Civil Arrest Directive is a final

agency action subject to APA review. Agency action is final under 5 U.S.C. § 704 if it

(1) “mark[s] the consummation of the agency’s decisionmaking process,” and (2) is one “by

which rights or obligations have been determined, or from which legal consequences will flow.”

Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (quotation marks and citations omitted).

       Here, Defendants concede the first prong of the Bennett test and argue only that the

Courthouse Civil Arrest Directive fails the second prong, on the ground that the Directive is

merely a general statement of policy that “does not compel any action” or “create legal

consequences.” Mem. 11-12. 2 But the Supreme Court has long held that agency action that

“give[s] notice of how the [agency] interpreted” the relevant statute can be final and reviewable

under the APA, even if that notice “would have effect only if and when a particular action was

brought” based on that interpretation. Abbott Labs., 387 U.S. at 150 (citing cases). Thus, the

Court recently held that jurisdictional determinations issued by the Army Corps of Engineers

(advising whether a particular property contains “waters of the United States” under the Clean


2
 Defendants cite Broadgate Inc. v. U.S. Citizenship & Immigration Services, 730 F. Supp. 2d
240, 243 (D.D.C. 2010), for the proposition that “[l]egislative or substantive rules are, by
definition, final agency action, while interpretive rules and general policy statements are not.”
Mem. 12 (quotation marks omitted). To the extent that Broadgate held that only legislative and
substantive rules meet the APA’s final-agency-action requirement, it has been overruled. As the
Supreme Court has since made plain, interpretive rules, like legislative rules, are subject to “a
variety of constraints on agency decisionmaking—the [APA’s] arbitrary and capricious standard
being among the most notable.” Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1209 (2015).


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Water Act) constitute final agency action because they warn regulated entities of conduct that

risks serious civil penalties, even though they do not dictate whether the agency would grant a

permit under the Act. U.S. Army Corps of Eng’rs v. Hawkes Co., 136 S. Ct. 1807, 1815 (2016).

       The Courthouse Civil Arrest Directive is no different: it constitutes ICE’s

determination—which the agency concedes (Mem. 11) is neither tentative nor interlocutory—

that ICE officers and agents should conduct civil arrests against parties, witnesses, or victims

attending New York court proceedings. See Courthouse Civil Arrest Directive § 2. As Plaintiffs

allege, the Directive, as implemented by ICE, has had the effect of deterring noncitizens from

attending court by warning them that certain conduct (attendance at court-related proceedings

and cooperation with law enforcement) risks serious consequences (civil immigration arrests by

ICE). Compl. ¶¶ 38-45, 52, 58, 62-87, 89-91. The Directive thus carries “legal consequences”

that suffice to constitute final agency action under the APA, especially given the Supreme

Court’s longstanding “pragmatic” approach to finality. Abbott Labs., 387 U.S. at 149-50.

       In arguing otherwise, Defendants mischaracterize the Directive (Mem. 12) as a mere

explanatory document, designed solely to “guide ICE officers in the exercise of their discretion

in deciding whether and when to conduct civil immigration enforcement actions” in courthouses.

This assertion simply ignores the fact, conceded elsewhere by Defendants (Mem. 4), that the

Directive was intended to make a sharp change in ICE’s arrest policy from its past practice—one

that has caused “ICE enforcement actions at courthouses in New York State [to] skyrocket[].” 3

Compl. ¶ 6. Because “the impact of the challenged action on the parties,” rather than




3
  Indeed, the Directive is part of a broader policy change of expanded immigration enforcement
reflected in the Secretary of Homeland Security’s 2017 directions, see Courthouse Civil Arrest
Directive § 2 n.1, which were issued to implement the President’s 2017 Executive Order that
sought to “take the shackles off” ICE officers and agents, Compl. ¶¶ 38-39.


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Defendants’ “semantic characterizations,” guides the finality inquiry, Aquavella v. Richardson,

437 F.2d 397, 404-05 (2d Cir. 1971), this Court should reject Defendants’ attempt to treat the

Directive merely as nonbinding guidance. See also L.V.M. v. Lloyd, 318 F. Supp. 3d 601, 612

(S.D.N.Y. 2018) (internal guide governing treatment of “unaccompanied alien children” was

final agency action); U.S. Gypsum Co. v. Muszynski, 161 F. Supp. 2d 289, 290-91 (S.D.N.Y.

2001) (Rakoff, J.) (an agency’s “own behavior may belie the claim that its interpretation is not

final” (alterations and quotation marks omitted)).

       D.      The complaint challenges ICE’s policy of arresting people traveling to and
               from court.

       Defendants are wrong that because the Courthouse Civil Arrest Directive expressly refers

only to arrests inside courthouses, any policy of conducting arrests near courthouses is not a final

agency action. See Mem. 13. Courts, including this one, have held that APA review is available

even without “a formal or official statement regarding the agency’s position,” Amadei v. Nielsen,

348 F. Supp. 3d 145, 165 (E.D.N.Y. 2018), if the agency’s position is reasonably discernible and

sufficiently definitive. See, e.g., Venetian Casino Resort, LLC v. EEOC, 530 F.3d 925, 929, 931

(D.C. Cir. 2008); U.S. Gypsum, 161 F. Supp. 2d at 291. Otherwise, agencies could “shield

[their] decisions from judicial review simply by refusing to put [them] in writing.” Grand

Canyon Tr. v. Pub. Serv. Co. of N.M., 283 F. Supp. 2d 1249, 1252 (D.N.M. 2003).

       Here, the complaint alleges that Defendants have adopted a policy authorizing ICE

officers and agents to conduct arrests not only in, but also around, courthouses. Compl. ¶ 1

(describing “the federal government’s recent unlawful and unconstitutional policy authorizing

civil immigration arrests in and around New York State courthouses” (emphases added)).

Although that policy is reflected in part in the Directive, Defendants’ “own behavior,” U.S.

Gypsum, 161 F. Supp. 2d at 291 (quotation marks omitted), confirms that their policy also



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includes arrests of people “on their way into and out of New York State courts,” Compl. ¶ 52;

see id. ¶¶ 69-77, 81-85 (detailing arrests outside courthouses). Indeed, Defendants have

described their policy as one that authorizes arrests near courthouses and “in courthouse

environments.” Id. ¶¶ 40-41. At best, Defendants’ disagreement about the scope of its policy

raises a dispute of fact that cannot be resolved now. See Amadei, 348 F. Supp. 3d at 165.

II.    The complaint states a claim that the Courthouse Civil Arrest Directive exceeds
       ICE’s statutory authority.

       On the merits, Defendants make no arguments about Plaintiffs’ claim that the Courthouse

Civil Arrest Directive is arbitrary and capricious. For Plaintiffs’ statutory-authority claim under

the APA, Defendants contend (Mem. 14, 19) that the claim fails as a matter of law because

“there is no federal common law right to evade immigration arrests” and, even if there were,

Congress displaced federal common law by authorizing ICE arrests in the INA.

       This argument fundamentally misconceives Plaintiffs’ claim. Plaintiffs’ claim does not

turn on the scope of federal common law, but rather on the scope of ICE’s statutory authority to

conduct arrests in or near state courthouses. Plaintiffs argue that the INA’s generic grant of

arrest authority—which says nothing about state courts—cannot be read to implicitly authorize

courthouse arrests in light of the presumption that Congress sought both to respect state

sovereignty over judicial proceedings and to preserve the well-settled common-law privilege

against civil arrests in or near courthouses. Moreover, contrary to Defendants’ assumption, this

privilege derives not from federal common law, which Congress can displace by legislating, but

rather from state common law, which is preempted only when Congress clearly and manifestly

intends to do so—intent that is absent from the INA’s civil-arrest provisions. Finally,

Defendants are wrong to characterize (Mem. 15) the centuries-old common-law privilege against

civil arrests as a “limited privilege” pertaining only to service of process on out-of-state litigants.



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Properly understood, Plaintiffs’ APA claim satisfies the minimal standard for pleading that the

Directive exceeds ICE’s statutory authority.

       A.      Congress did not authorize ICE to conduct civil arrests in or near state
               courthouses.

       Like any agency, ICE can exercise only the powers Congress has given it. City of

Arlington v. FCC, 569 U.S. 290, 297 (2013). Defendants claim (Mem. 20, 22-23) that they are

authorized to conduct civil immigration arrests in and near state courthouses under the INA’s

generic grants of arrest authority, 8 U.S.C. §§ 1226(a), 1357(a)(2)—even though these

provisions say nothing about state courts—simply because “Congress spoke to the issue of

immigration arrests” in these provisions. That argument ignores two critical presumptions that

defeat Defendants’ arguments and support Plaintiffs’ APA claim.

       First, Congress presumptively intends to leave “long-established and familiar” common-

law principles—including state common law—intact unless a statute “speak[s] directly to the

question addressed by the common law.” United States v. Texas, 507 U.S. 529, 534 (1993)

(quotation marks omitted); see United States v. Moffitt, Zwerling & Kemler, P.C., 83 F.3d 660,

667-68 (4th Cir. 1996) (holding that Congress left state common-law remedies intact);

Resolution Trust Corp. v. Miramon, 22 F.3d 1357, 1360 (5th Cir. 1994) (presumption favoring

common law “applies to . . . state common law”). Here, as explained in more detail below (at

16-20), both state and federal courts recognized a common-law privilege against civil arrests in

and around courthouses when Congress enacted the INA’s civil-arrest provisions.

       Second, Congress also presumptively preserves “the historic police powers of the States”

when it legislates. City of Milwaukee v. Illinois, 451 U.S. 304, 316 (1981) (quotation marks

omitted). That presumption can be overcome only when a statute reflects Congress’s “clear and

manifest purpose” to preempt the State’s police powers. Id. (quotation marks omitted); see also



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Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947) (requiring clear statement before

presuming that Congress sought to preempt a “field which the States have traditionally

occupied”). Here, the Constitution reserves to the States “the maintenance of state judicial

systems for the decision of legal controversies,” Atl. Coast Line R.R. v. Bhd. of Locomotive

Eng’rs, 398 U.S. 281, 285 (1970), and the Supreme Court has long recognized the importance of

avoiding federal interference with state judicial proceedings and preserving the States’ “inherent

sovereign[]” power to prosecute crimes, Heath v. Alabama, 474 U.S. 82, 89 (1985) (quotation

marks omitted); see also O’Shea v. Littleton, 414 U.S. 488, 500 (1974).

       Nothing in the INA’s generic grant of arrest authority evidences any congressional

intent—let alone a clear and manifest one—to preempt the common-law privilege against civil

arrests in or near courthouses, or to interfere with state judicial proceedings and prosecutions.

Neither of the INA’s provisions authorizing arrests, see 8 U.S.C. §§ 1226(a), 1357(a)(2), refers

to courthouses. Nor do these provisions include any “clear statement” of Congress’s intent to

displace the States’ historic police powers in this area. Gregory v. Ashcroft, 501 U.S. 452, 461

(1991) (quotation marks omitted). Given Congress’s silence on both these fronts, the INA’s

grant of arrest authority cannot be read to override the longstanding and familiar common-law

privilege or to endorse ICE agents’ interference with state courts and prosecutions. See Ryan,

382 F. Supp. 3d at 157-59.

       Defendants thus err in asserting (Mem. 20) that Congress merely needed to “sp[eak] to

the issue of immigration arrests” to “displac[e]” the common-law privilege. That more lenient

standard applies when Congress legislates in an area where federal common law applies, since

“it is for Congress, not federal courts, to articulate the appropriate standards to be applied as a

matter of federal law.” City of Milwaukee, 451 U.S. at 317. But a stricter test applies when, as




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here, a federal statute touches on state common law or the States’ police powers: courts simply

do not presume that Congress intended to “alter the usual constitutional balance between the

States and the Federal Government” unless it “make[s] its intention to do so unmistakably clear

in the language of the statute.” Gregory, 501 U.S. at 461 (quotation marks omitted). The INA

includes no such “unmistakably clear” language.

       Defendants also misplace reliance (Mem. 23-24) on a reference to courthouses in a

different subsection of the INA—passed decades after Congress enacted INA’s civil-arrest

provisions—to support their argument that Congress did intend to authorize ICE arrests in state

courthouses. That subsection, 8 U.S.C. § 1229(e), requires federal immigration officers who

conduct “an enforcement action leading to a removal proceeding” in certain court proceedings

(including cases “relating to domestic violence, sexual assault, trafficking, or stalking”) to certify

that they did not decide to remove an arrestee based solely on information provided by an abuser.

Defendants assert that this language contemplates civil arrests in state courthouses.

       They are incorrect. In addition to civil immigration arrests, ICE officers and agents have

statutory authority to conduct criminal arrests (subject to stricter procedural and substantive

requirements), and the common-law privilege at issue here does not apply to such arrests. Thus,

§ 1229(e) may reflect only that Congress contemplated criminal arrests that would not implicate

the common-law privilege—and at any rate does not contain clear and manifest language

showing that Congress intended the statute to apply to civil, rather than criminal, arrests. More

broadly, § 1229(e) was intended to protect noncitizens by assuring them that federal immigration

authorities would not misuse information from their abusers to support their removal—thus

encouraging noncitizens to participate in state-court proceedings seeking to obtain justice against

those who “battered or subject[ed] [them] to extreme cruelty.” Id. It would be perverse to rely




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on § 1229(e) to support a Directive that undermines those very objectives—for example, by

leading to arrests of domestic-violence victims and arrests at the courts specializing in protecting

abused adults and minors, see Compl. ¶¶ 76, 82, 99-100, 103. At the very least, § 1229(e)’s goal

of making courthouses safer for noncitizens precludes reading the statute as an “unmistakably

clear” expression of Congress’s intent to make courthouses less safe by affirmatively authorizing

ICE civil courthouse arrests. See Gregory, 501 U.S. at 461 (quotation marks omitted); see also

Ryan, 382 F. Supp. 3d at 159 (Section 1229(e) “has little bearing on the . . . interpretation of

Congressional intent regarding courthouse arrests” in the INA).

       Finally, Defendants appear to argue that the federal government’s “exclusive authority

over immigration” (Mem. 21) requires this Court to interpret the INA’s arrest provisions as

implicitly authorizing interference with state courts. But there is no support for Defendants’

extraordinary proposition that the federal government’s “regulatory authority over all aliens

within the United States” (id.) allows it to disregard any state laws that might apply to such

aliens. Instead, courts have relied on the federal government’s primacy over immigration only to

override state laws that effectively seek to regulate immigration itself. See Arizona v. United

States, 567 U.S. 387, 402 (2012). For example, in the Eleventh Circuit case Defendants cite

(Mem. 21), the court found preempted a state statute that was a “thinly veiled attempt to regulate

immigration” by barring undocumented immigrants “from enforcing contracts for basic

necessities.” United States v. Alabama, 691 F.3d 1269, 1293, 1296 (11th Cir. 2012).

       Here, by contrast, neither the common-law privilege against civil courthouse arrests nor

the States’ administration of their judicial systems represents any attempt by the State to regulate

immigration specifically—as shown by the fact that these principles would prohibit any civil

arrests in or near New York courthouses, not simply arrests by ICE officers or agents. See




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Oneok, Inc. v. Learjet, Inc., 135 S. Ct. 1591, 1601 (2015) (federal Natural Gas Act did not

preempt generally applicable state laws “not aimed at natural-gas companies in particular, but

rather all businesses in the marketplace”); DeCanas v. Bica, 424 U.S. 351, 355 (1976) (“the fact

that aliens are the subject of a state statute does not render it a regulation of immigration”).

Plaintiffs here are not seeking to alter whom the federal government may remove, or on what

grounds, but instead seek only to protect a core feature of their sovereignty from a federal policy

that directly and significantly harms a compelling sovereign interest. See Ryan, 382 F. Supp. 3d

at 158. That the INA authorizes arrests in the immigration context does not provide an automatic

override of state common law or state sovereign interests.

       B.      Defendants mischaracterize the common-law privilege against civil arrests in
               or around courthouses.

       Defendants’ arguments rely on a fundamental misunderstanding of the common-law

privilege against civil arrests in and around courthouses. Contrary to Defendants’ assertions

(Mem. 15 n.4), that privilege is part of state common law, not just federal common law, see, e.g.,

Parker v. Marco, 136 N.Y. 585, 589 (1893). The privilege protects against arrests, not just

service of summons (see Mem. 18). And the privilege applies to residents of a State, not just to

nonresidents who enter a foreign jurisdiction (see Mem. 14-15). Properly understood, the

common-law privilege against civil arrests in or near courthouses thus provides precisely the

type of well-settled protection that Congress presumptively incorporated into the INA, and that

the Courthouse Civil Arrest Directive improperly disregards.

       1. The civil-arrest privilege dates back to fifteenth-century England. See Parker, 136

N.Y. at 589. At the time, plaintiffs could serve process in lawsuits by obtaining a “writ of capias

ad respondendum,” which “directed the sheriff to secure the defendant’s appearance by taking

him into custody.” Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999).



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Clever litigants began using courthouses to trap their opponents by having them arrested while

they were attending court on other business, or while they were on their way to or from the

courthouse. See, e.g., Walpole v. Alexander (1782) 99 Eng. Rep. 530, 531.

       The privilege developed to counter that practice. It served two important ends: It

encouraged court attendees “to come forward voluntarily,” id., by shielding from civil arrest

“[s]uitors, witnesses, and other persons, necessarily attending any courts of record upon business

. . . during their actual attendance, which includes their necessary coming and returning,”

3 William Blackstone, Commentaries on the Laws of England 289 (1768). And it kept peace in

the courthouse by preventing “perpetual tumults” that would debase “the decorum which ought

to prevail in a high tribunal.” Orchard’s Case (1828) 38 Eng. Rep. 987, 987; see also Long’s

Case (1676-77) 86 Eng. Rep. 1012, 1012 (arrest “in the Palace yard, not far distant from the hall

gate, the Court being then sitting,” was “a contempt”). The privilege thus belonged not only to

the attendees, but also to the courts. See Orchard’s Case, 38 Eng. Rep. at 987. And when

invoked to preserve courts’ “decorum,” the privilege protected even those people who had no

official business in court, for it barred all arrests “made in [the judges’] presence or within the

local limits of the place where they were administering justice.” Id.

       “The United States imported” into its judicial system England’s “procedure of civil arrest

and [its] common law privilege against civil arrest at courthouses.” Ryan, 382 F. Supp. 3d at

156; see also, e.g., N.Y. Const. art. XXXV (1777) (adopting English common law). Courts

across the country consistently held that parties and witnesses “are privileged from arrest on civil

process during their attendance, and for a reasonable time in going and returning.” E.g., In re

Thompson, 122 Mass. 428, 429 (1877). By the end of the nineteenth century, “no rule of practice

[was] more firmly rooted in the jurisprudence of United States courts than that of the exemption




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of persons from the writ of arrest and of summons while attending upon courts of justice, either

as witnesses or suitors.” Hale v. Wharton, 73 F. 739, 740 (W.D. Mo. 1896). 4

       New York, like the vast majority of American jurisdictions, has also long recognized a

privilege protecting parties and witnesses from “all forms of civil process,” including arrest,

“during their attendance at court and for a reasonable time in going and returning.” Parker, 136

N.Y. at 589; accord David Graham, Treatise on the Practice of the Supreme Court of the State of

New-York 129-31 (2d ed. 1836). Like the English privilege, the New York privilege against civil

arrests is both a privilege of attendees, who “might be deterred” by the prospect of courthouse

arrests, Person v. Grier, 66 N.Y. 124, 126 (1876), and “a privilege of the court,” vital to “the due

and efficient administration of justice,” Parker, 136 N.Y. at 589.

       2. Defendants claim (Mem. 18) that the privilege against civil arrests had “been replaced

by a privilege against service of process” by 1952, when Congress codified the INA’s civil-arrest

provisions, but they are incorrect. As arrests began to “give[] way to personal service of

summons” as the preferred method of securing defendants’ appearance in civil suits, Int’l Shoe

Co. v. Washington, 326 U.S. 310, 316 (1945), the privilege “was extended” to protect people

from being served with a summons while in, or on the way to or from, court, Hale, 73 F. at 741.

But while the privilege against civil arrest and the privilege against the service of a summons rest

on the same common-law principles, courts recognized that they did not have to be applied

identically. See, e.g., Person, 66 N.Y. at 125. Some courts held, for instance, that residents were

privileged only against civil arrest, while nonresidents were privileged against all forms of



4
 See, e.g., Hurst’s Case, 4 U.S. (4 Dall.) 387, 389 (Washington, Circuit Justice, C.C.D. Pa.
1804); Kaufman v. Garner, 173 F. 550, 554 (W.D. Ky. 1909); First Nat’l Bank v. Ames, 39
Minn. 179, 179 (1888); Mitchell v. Wixon, 53 Mich. 541, 542 (1884); Vincent v. Watson,
30 S.C.L. (1 Rich.) 194, 198 (S.C. 1845); Halsey v. Stewart, 4 N.J.L. 366, 369 (N.J. 1817);
Hayes v. Shields, 2 Yeates 222, 222 (Pa. 1797) (per curiam).


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service of process. See, e.g., Frisbie v. Young, 11 Hun. 474, 475 (1st Dep’t 1877). But the core

rationale for the privilege, whatever its application, remained to protect courts against any form

of service that would cause a disturbance or otherwise interfere with court proceedings. See

Baumgartner v. Baumgartner, 273 A.D. 411, 412-13 (1st Dep’t 1948).

        These principles underlay Stewart v. Ramsay, 242 U.S. 128 (1916), the Supreme Court’s

foundational case on the privilege. While that case concerned service of a summons, the Court

made clear that the privilege rested on the broader principle that “[c]ourts of justice ought

everywhere to be open, accessible, free from interruption, and to cast a perfect protection around

every man who necessarily approaches them,” leaving litigants and witnesses “free from the fear

of molestation or hindrance.” Id. at 129 (quotation marks omitted). There is no basis for reading

this broad protection as applying only to service of summons and not to the more disruptive

effect of civil arrests.

        Defendants are also incorrect that any common-law privilege is limited to nonresidents

entering into a foreign jurisdiction. See Mem. 14-15. Courts that discussed such a limitation did

so only in the context of service of summonses, which they deemed to pose a unique risk:

dissuading parties and witnesses from crossing state lines, for fear that they would be served in

another State, and thus subject to personal jurisdiction there. See, e.g., Hale, 73 F. at 741.

Arrests, by contrast, posed a risk equally applicable to residents and nonresidents: that the

prospect of a looming arrest would “disturb and divert” court attendees, causing them to lose the

“repose and equipoise essential to a full and true deliverance of [their] testimony.” Id. Courts

thus recognized that the common-law privilege against civil arrests applied to “all persons who

have any relation to a cause.” In re Healey, 53 Vt. 694, 695 (1881) (emphasis added).

        Although some New York courts, like courts in other jurisdictions, applied the privilege




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against the service of a summons only to nonresidents, they consistently held that the privilege

against civil arrests applied to residents as well. In Hopkins v. Coburn, for instance, New York’s

highest court expressly held that resident parties are “undoubtedly privileged from [civil] arrest”

in and around courthouses. 1 Wend. 292, 293 (N.Y. Sup. Ct. 1828). And in Person, the New

York Court of Appeals explained that resident parties and witnesses were privileged from civil

arrest in court, and would therefore be ordered “discharged from arrest upon” signing a formal

appearance (sometimes called “filing common bail”). 66 N.Y. at 125. Consistent with these

cases, a leading nineteenth-century treatise on New York law explained that, “[a]s a general rule,

every person who has any relation to a suit . . . is exempt from arrest” while going to, remaining

in, and returning from court. Graham, supra, at 129 (emphasis added).

       In short, Defendants are simply wrong in claiming that the law distinguishes between

residents and nonresidents when applying the privilege against civil arrest. While it is

“doubtful” that “any distinction [between residents and nonresidents] should or does in fact

exist,” the distinction, at most, applies in the context of service of summonses. Person, 66 N.Y.

at 126. But that distinction has no bearing on this case, which involves only civil arrests.

       3. Defendants’ attempts to narrow the common-law privilege also cannot be squared

with the well-recognized policies that animate the privilege.

       One of the main purposes of the privilege against civil arrest is to encourage parties and

witnesses “to come forward voluntarily.” Walpole, 99 Eng. Rep. at 531. To that end, the

privilege has for centuries protected all “[s]uitors, witnesses, and other persons . . . attending any

courts of record upon business,” 3 Blackstone, supra, at 289, whether they live in the jurisdiction

or come “from abroad,” Walpole, 99 Eng. Rep. at 531; accord Thompson, 122 Mass. at 429. The

privilege thus recognizes that the specter of civil arrest causes parties and witnesses to “be




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deterred . . . from attending” court, resulting in “delays” and “injustice.” Person, 66 N.Y. at 126.

Potential arrestees experience that threat regardless of whether they reside in New York, and

regardless of whether their arrestors are federal immigration officials or local sheriffs.

       ICE’s Directive and its implementation have caused the very delays and injustice that the

privilege seeks to prevent. ICE’s civil arrests under the Directive have forced New York courts

to dismiss and postpone cases in which parties or witnesses were apprehended, Compl. ¶¶ 70, 74,

77-78, 80, 83, 86; caused the temporary closure of a courthouse after an arrest caused property

damage, id. ¶ 69; and hampered prosecutors’ ability to prosecute crimes, in part because

witnesses fear that ICE will apprehend them if they appear in court, id. ¶¶ 90-91.

       The privilege’s other well-established purpose is to enable courts to function properly.

Because arrests on courthouse grounds threaten the judiciary’s ability to dispense justice, English

courts forbade all such arrests—even of people not in court on official business. See Orchard’s

Case, 38 Eng. Rep. at 987; see also 3 Blackstone, supra, at 289 (“[N]o arrest can be made . . . in

any place where the king’s justices are actually sitting.”). Unlike mere service of a summons,

civil arrests “interfere with [the arrestees’] liberty,” Frisbie, 11 Hun. at 475; “produce much

terror” in the potential arrestees, Cole v. Hawkins (1738) 95 Eng. Rep. 396, 396; and may result

in “violence” that “disturb[s]” the court, 6 Matthew Bacon, A New Abridgement of the Law 530

(7th ed. 1832); accord, e.g., Hale, 73 F. at 741.

       New York courts have also recognized this important purpose. Because “the

administration of justice” is thwarted when parties and witnesses are “molested with process”

while on courthouse grounds, Person, 66 N.Y. at 126, the privilege prevents service on residents

and nonresidents alike if service would cause a “disturbance directly tending to interrupt the

proceedings of the court or to impair the respect due to its authority,” Baumgartner, 273 A.D. at




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412-13. And ICE arrests have caused precisely such disturbances—such as when a violent arrest

shatters courthouse doors, Compl. ¶ 69, or causes so much commotion that it leads bystanders to

believe they were witnessing a kidnapping, id. ¶ 81.

       4. Defendants argue (Mem. 17) that the public interest in immigration arrests requires

overriding the common-law privilege, but they offer no genuine support for this position. The

only cases they cite say that the public interest “in criminal cases” may overcome the privilege.

Ex parte Lamar, 274 F. 160, 169 (2d Cir. 1921) (emphasis added; quotation marks omitted). But

“[r]emoval is a civil, not criminal, matter.” Arizona, 567 U.S. at 396. Indeed, the Directive

disclaims any application “to criminal immigration enforcement actions.” Directive § 2. So the

arrests Plaintiffs challenge do not vindicate the “overriding public policy” requiring defendants

“to answer and stand trial” for crimes of which they are accused. See United States v. Conley, 80

F. Supp. 700, 703 (D. Mass. 1948). Instead, they serve the same purpose as civil arrests at

common law—to “secure the [arrestee’s] appearance” at a civil proceeding, Murphy Bros., 526

U.S. at 350; see 8 U.S.C. § 1226(a)—and should be subject to the same privilege.

       Although Defendants claim that no case has applied the privilege in the federal

immigration context (Mem. 16), a recent federal decision in fact did so, concluding that the

common-law privilege was sufficiently well established and on point to provide a background

principle of law that Congress presumptively incorporated into the INA. See Ryan, 382 F. Supp.

3d at 155-57. The lack of other cases on this precise issue is unsurprising. As Defendants

acknowledge (Mem. 4-5), ICE’s policy of arresting people in courthouses is new, and the

recently announced Directive is a stark departure from past practice that has caused arrests in or

around state courthouses to “skyrocket[].” Compl. ¶ 6; see also id. ¶¶ 30-45. The absence of

prior decisions thus underscores the radical nature of Defendants’ new policy, rather than




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suggesting any uncertainty about the relevance of the common-law privilege here.

III.   The complaint states a Tenth Amendment claim.

       The complaint plausibly pleads that the Courthouse Civil Arrest Directive violates the

Tenth Amendment by unduly interfering with New York’s operation of its courts and its ability

to prosecute criminal cases. The Tenth Amendment provides that “[t]he powers not delegated to

the United States by the Constitution, nor prohibited by it to the States, are reserved to the States

respectively, or to the people.” Because “the National Government possesses only limited

powers,” Bond v. United States (Bond II), 572 U.S. 844, 854 (2014), the States “retain a

significant measure of sovereign authority,” New York v. United States, 505 U.S. 144, 156 (1992)

(alteration and quotation marks omitted).

       Defendants’ sole argument in response (Mem. 24-25) is that the Tenth Amendment bars

only federal commandeering of States and their officials. But the Tenth Amendment has never

been construed so narrowly. The federal government violates the Tenth Amendment whenever it

exceeds its “discrete, enumerated” powers by invading the States’ “residuary and inviolable

sovereignty.” Printz v. United States, 521 U.S. 898, 919 (1997) (quotation marks omitted). The

anti-commandeering doctrine is thus but one “example” of the Tenth Amendment’s broader

protection of state sovereignty. City of New York v. United States, 179 F.3d 29, 33 (2d Cir.

1999), abrogated on other grounds by Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. 1461

(2018). 5 For instance, the Tenth Amendment also bars Congress from criminalizing “act[s]


5
  Contrary to Defendants’ assertion (Mem. 25), City of New York v. Beretta U.S.A. Corp., 524
F.3d 384 (2d Cir. 2008), accords with this principle. There, the Second Circuit held that “federal
statutes validly enacted under one of Congress’s enumerated powers . . . cannot violate the Tenth
Amendment unless they commandeer the states’ executive officials or legislative process.” 524
F.3d at 396 (emphasis added; quotation marks, alteration, and citation omitted). Here, the
question under dispute is whether Congress’s enumerated powers—assuming they were
delegated to Defendants—include authorizing arrests that seriously disrupt the States’ operation
of their judiciaries and hinder state criminal prosecutions. See Compl. ¶¶ 117-20, 137-41.


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committed wholly within a State” unless those acts “have some relation to the execution of a

power of Congress, or to some matter within the jurisdiction of the United States.” Bond II, 572

U.S. at 854 (quotation marks omitted); see United States v. Morrison, 529 US. 598, 613-27

(2000); United States v. Lopez, 514 U.S. 549, 561-68 (1995).

       Moreover, as relevant here, both the Supreme Court and the Second Circuit have

recognized that the federalism principles embodied by the Tenth Amendment broadly forbid

federal interference in state judiciaries—whether by enjoining state-court proceedings, Younger

v. Harris, 401 U.S. 37, 53-54 (1971); by second-guessing States’ procedures for administering

cases, see Kaufman v. Kaye, 466 F.3d 83, 87 (2d Cir. 2006); or by conducting “ongoing federal

audit[s] of state criminal proceedings” to ensure compliance with the U.S. Constitution, O’Shea,

414 U.S. at 500. These protections of the States’ prerogative to control “the internal workings”

of their own courts, Kaufman, 466 F.3d at 86, stem directly from the Tenth Amendment’s

preservation of “the fundamental constitutional independence of the States,” Chick Kam Choo v.

Exxon Corp., 486 U.S. 140, 146 (1988).

       Here, the Courthouse Civil Arrest Directive threatens New York’s “compelling” interest

in a “fully capable” judiciary. Gregory, 501 U.S. at 472; see supra at 21-22. The Directive has

resulted in the arrests of parties, witnesses, and family members, thereby preventing witnesses

from testifying and parties from appearing, and forcing courts to adjourn or cancel hearings,

trials, and other judicial proceedings. Compl. ¶¶ 64-87. Those delays harm not only the people

that the court system serves, but also the court system itself, which “must rearrange ever-more-

crowded dockets” and will suffer from a growing backlog. Id. ¶ 2. ICE’s arrests have also

caused public disturbances threatening the safety of persons attending court, and undermining

the State’s interest in maintaining security and decorum in court proceedings. Id. ¶¶ 69, 81. And




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despite New York’s efforts to curb these arrests, arrests of people on their way to or from

court—including on courthouse steps, id. ¶ 7—continue to “impair the ability of New York

courts to perform routine functions,” id. ¶ 66.

       ICE’s practice of arresting people in and around courthouses has also intruded on New

York’s sovereign prerogative to prosecute local crimes. See Heath, 474 U.S. at 89. Those

arrests have made prosecutors’ jobs “twice as hard” by “instill[ing] fear in immigrant

communities” and “mak[ing] victims and witnesses afraid to come forward and report crimes.”

Compl. ¶¶ 89, 96; see id. ¶¶ 95-100. Prosecutors throughout the State have reported declines in

immigrant participation in the criminal-justice system, see id. ¶¶ 101-03, and have resorted to

imploring ICE to stop making courthouses arrests—to little effect, see id. ¶¶ 62-63, 104-05.

       These allegations state a Tenth Amendment claim. They show the federal government’s

“[i]mpermissible interference with state sovereignty,” Bond v. United States, 564 U.S. 211, 225

(2011), by issuing a directive that squarely targets state courthouses as convenient locations for

ICE to conduct civil immigration arrests. Defendants’ commandeering argument is thus beside

the point: the Courthouse Civil Arrest Directive’s meaningful interference with state judicial

proceedings and criminal prosecutions is enough to trigger the Tenth Amendment’s protections. 6

                                         CONCLUSION

       Plaintiffs respectfully request that the Court deny Defendants’ motion to dismiss.



6
 The Court should deny in full Defendants’ motion to dismiss. But if the Court believes there is
any question about the legal sufficiency of the challenged claims, it may exercise its discretion to
defer determination until after the parties have developed the factual record, because the extent
of interference with state sovereignty may be informed by factual questions, and the parties will
necessarily develop a factual record in any event because Defendants do not contest that
Plaintiffs state an arbitrary-and-capricious claim. See Fed. R. Civ. P. 12(d), (i); Evello Invs.,
N.V. v. Printed Media Servs., Inc., 158 F.R.D. 172, 173 (D. Kan. 1994) (citing Gulbenkian v.
Gulbenkian, 33 F. Supp. 19, 20 (S.D.N.Y. 1940)); Flue-Cured Tobacco Coop. Stabilization
Corp. v. EPA, 857 F. Supp. 1137, 1145 (M.D.N.C. 1994).


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DATED: November 5, 2019              Respectfully submitted,

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                                                    396 (ADD1-ADD2)




        396                   TRINITY TERm,       11, 12 GEe. II. 1738               ANDREWS, 275.

        which impose the penalty of 2001. for such an offence: and he being now brought up
        by habeas corpus, it was moved by Mr. Ketelby, on the behalf of one Dennet, a.
        creditor of the defendant, that the defendant might be turned over to the Marshalsea,
         he being pardoned by the statute of 9 G. 2, c. 35.
            On the other side it was argued by Attorney General Ryder, and Solicitor General
        Murray, that the defendant being in custody at the suit of the Crown, he ought not
        to be turned over to another prison, at the instance of a private person, for debt: and
        so it was determined in Boyse's case. Besides, this is not the regular way for the
        defendant to take advantage of the Act, supposing he is pardoned thereby, (which,
        they said, he was not) but (on the contrary) it is directed to be by pleading.
            And the whole Court were clearly of opinion, that this is not a proper method
        of taking advantage of the Act; but it ought to be by suggestion on the record, that
        the Crown may be at liberty to traverse it; and therefore they denied the motion.
            Lee C.J. also said, that he was not satisfied that a person in custody for the
        Crown can be turned over to another prison; and there is a case, where it is held
        he cannot.
            N.B. This matter was first moved last term, and the Court then refused, for the
        same reasons as were now given, to grant any rule.
                                                                                           4


                [275]   CoLE against HAWKINS.      Merely serving process upon a party
                              attending his cause in Court is a contempt.
                                           S. C. 2 Stra. 1094.
             Motion by Sir Thomas Abney, for an attachment against one Whitten, an attorney.
        for serving the copy of a bill of Middlesex upon the defendant, in an action of assault
        and battery at the suit of one Lawes, whilst Lee C.J. was hearing causes at Nisi Prius
        in Westminster-Hall, and the defendant was upon the steps leading to the Court,
        attending his cause, which was then just going to be called on. And Sir Thomas
        said, that he remembered a case, where the service of a justice's summons upon a.
        person attending the Court whilst it was sitting, was held to be a contempt.
             On the other side it was argued by Solicitor General Strange and others, that the
        protection which the law gives to persons in these cases, extends to them only eundo.
        & redeundo; and it does not include the serving of a process, as this is no restraint
        upon the person. Besides, supposing the service to be irregular, yet it is no contempt,
        especially as it did not hinder, or tend to hinder, the trial from going on; and the-
        defendant's presence was not necessary. But (by Lee C.J.) the protection which the-
        law gives in these cases, as well to the parties to causes as their counsel and attornies,
        extends to them eundo, redeundo & morando; and if the serving of process upon
        persons attending Courts were to be allowed, it would produce much terror and great
        distraction in business.
             And the whole Court (except Page Just. who hesitated) were clearly of opinion,.
        that the service of a process in the sight of the Court is a great contempt, and
        punishable by attachment. And they said, that persons have been frequently laid by
        the heels for making arrests in those cases, where they have refused to discharge the-
        party arrested. And Lee C.J. said, that where this hath been agreed to, yet in the-
        first instance the Court bath laid hold on the officer for the contempt. But, he said,
        it is [276] another consideration, whether such execution of a writ be void, so that
        the party shall be discharged.
             However, in this case the attorney, (who was in Court) declaring that he served
        the writ through mere inadvertence, and submitting to pay the costs, and waive the
        proceedings, the rule granted to shew cause, &c. was discharged.

         WELLIS   against NICHOLSON. The plaintiff's testator's bill of costs is not subject to
               taxation under 2 Geo. 2, c. 23, nor need the bill be signed in such case.
            Per Curiam: In the case of an executor of an attorney, the testator's bills are not
        subject to taxation upon the statute of 2 G. 2, c. 23, the words thereof not extending
        to an executor. And the Court said, that in a late case, on the motion of Serjeant
        Parker, it was held, that in such case the bill need not be signed.
           See Lee v. Knight, Barnes, 119. Chapple v. Chapman, Barnes, 122.




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       ANDREWS, ra/.         MICHAELMAS TERM,         12   GEO.   n. 1738

       THE KING against THE INHABITANTS OF MARTON. Indictment against a township
                     for not paving a cartway; judgment on it, reversed.
           Error of a judgment upon an indictment against the inhabitants of a township,
       for not paving a cartway: and it was assigned for error by Mr. Willbraham, (1) That
       in the presentment the jury have not said, that the way is out of repair. (2) It is
       said only, that the inhabitants, &c. ought to repair the same: whereas this being in
       the case of a township, which by custom only is obliged to repair, it ought to have
       been averred, that they have from time out of mind repaired, &c. for of common right
       parishes are bound to repair. 1 Vent. 183, 189.
           And none appearing on the other side, the judgment was reversed, without any
       opinion being given by the Court, upon the above exceptions.
           Mr. Justice Page also objected, that the indictment is, for not paving; whereas
       certainly the township is not obliged to pave, but only to repair.


                          [277]   MICHAELYAS TERm, 12 GEO.         II. 1738.
              Sir William Lee, Chief Justice. Sir Francis Page, Sir Edmund Probyn,
                                  Sir William Chapple, Justices.
       BROOKS against CROWSE. To assumpsit for a farrier's bill, the defendant pleads
           infancy. The plaintiff ought to reply that the physic, &c. was necessary for the
           defendant; or, for the horses of the defendant kept for his necessary use.
                                S. C. 2 Stra. 1101, Ciowes v. Brooke.
           In assumpsit by a farrier for providing physick and other things for the defendant's
       horses, the defendant pleads infancy; and the plaintiff replies, that the physick and
       materials so provided, &c. were necessary for the horses of the defendant: to which
       the defendant demurs.
           And it was argued by Mr. Denison for the defendant, that an infant is under the
       protection of the law, and is not thereby suffered to contract for any thing but mere
       necessaries for himself, as apparel, meat and learning: and even a contract by one for
       being an apprentice is not binding, unless it be by the custom of London. He cannot
       so much as contract for the maintenance of his own family, or the reparation of his
       own house. In all actions therefore against an infant, it must be alledged, that the
       work or things for which the suit is brought was necessary, or else they must appear
       to be so in the nature of the [278] thing. Now here it doth not appear either that
       the physick and materials, or even the horses, were necessary for the infant; for he
       might have twenty horses more than there was a necessity for. And upon this
       replication a proper issue could not possibly be joined: for the issue here could only
       have been, whether the physick, &c. was necessary for the horses, and not whether
       the horses were necessary for the infant: which is the matter that ought to have been
       put in issue. Cro. El. 583. Cro. Jac. 494, 560. Cart. 215, in point.
           On the other side it was argued by Serjeant Beilfield, that this application is good,
       because it appears that the defendant had the horses, which perhaps might be by will
       or donation; and it is admitted by the demurrer, that the physick, &c. was necessary
       for the horses. It is not necessary, and it would make the pleading too prolix, to
       show specially in these cases how the things are necessary ; but the common way is,
       and hath been for many years, appears by many precedents, to reply generally, that
       they are necessaries: and under such general issue every circumstance, and particularly
       the rank and station of the infant, will come properly before the jury.
           It was replied (amongst other things) that the plaintiff should have shown how
       the defendant came by the horses, whether by donation or will, or in what other
       manner:
       answered, but nothing     of this
                        this is not       nature on
                                     incumbent    appears.  But tobecause
                                                    the plaintiff,  this Mr.
                                                                           he isJustice Probyn
                                                                                  a stranger  to
       the defendant's title.
           And the whole Court were clearly of opinion, that this replication is ill. For
       the only matter inquirable under it is, not whether the physick, &c. was necessary
       for the infant, but whether it was necessary for the horses; whereas it should have
       been replied, that the physick, &c. was necessary for the use of the defendant, or




                                          ADD2
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              Frisbie v. Young, 11 Hun. 474 (1st Dep’t 1877) (ADD3-ADD4)




            474                         FRISBY v. YOUNG.
                                 FIxST DEPARTMENT, JULY TEins, 1877.

            Fleas, MS. opin., VAN HOESEN, J.) The intent of the plaintiffs
            was one step in the defense, and when the attempt to prove it was
            rejected, the defendant secured the advantage of an exception. In
             Cassa'd v. Jinminan (6 IBosw., 14) the question asked was, "at the
            time of the making the writings between you and Cassan, was any
            thing said by Nathan (the broker) as to the performance by receipt
            and delivery of pork, or the settlement by payment and receipt of
            differences, and if so, what?" The question was excluded, and it
            was held to have been erroneously ruled upon. The inquiry was
            held relevant to the defense, which was substantially that the con-
            tract was a wager. The ruling considered demands, therefore, that
            a new trial be granted.
               Ordered accordingly, with costs to abide the event.

               DAvIs, P. J., and     DANIELS, J.,    concurred.

               Judgment reversed, new trial ordered, costs to abide event.




                LOUIS FRISBIE,           RESPONDENT, 'V. JAMES           R. YOUNG,
                                             APPELLANT.

            Resident witness - exempt -from a'rest on process - not from service of summons.

            A resident witness is, while attending examination, exempt from arrest, but not
              from the service of process. A different rule applies to non-resident witnesses.

              APPEAL from an order denying a motion to set aside the service
            of a summons, on the ground that the same was served while the
            defendant was attending examination as a witness.

              Bpodhead & Wight, for the appellant.
               W. S. Cowles, for the respondent.
            BRADY, J. :
               The defendant was served with a summons while under examina-
            tion as a witness de bme esse. He came from another State here,
            and after his arrival was advised that his testimony was desired.
            He consented to appear, and his examination was arranged by stipu-
            lation. It is shown that, if he had not consented, compulsory




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                             13OSTWICK v. FRANKFIELD.                               475
                             FIRST DEPARTMENT,      JULY TEnu, 1877.

        process would have been issued. It further appears, however, that
        he was a resident of this State at the time of the examination,
        accordino to his own statement then made, and his absence was,
        therefore, connected with business. He states, indeed, in the affi-
        davit on which this motion rests, that he was not engaged in busi-
        ness in the city of Chicago, Illinois. As a resident witness, he was
        exempt only from arest while attending for examination, and not
        from the service of process. Non-resident witnesses were dis-
        charged absolutely. (Graham's Pr. [2d ed.], 130, and cases cited.)
        The privilege does not extend to non-bailable process, or process on
        which no bail is demanded. The cases of lamkin v. Starkey (14
        N. Y. S. 0. R., 479) and Brett v. Brown (13 Abb. [N. S.], 295) do
        not conflict with this view. They were cases of non-resident or
        foreign witnesses, to whom, as we have seen, a different rule applies.
        The Revised Statutes exonerated witnesses from arrest, and sub-
        jected the persons arresting them to action and a penalty. (2 R. S.,
        old paging, 402; 3 R. S. [6th ed.], 665.) The defendant being a
        resident of this State, it follows that he could be served with a sum-
         mons which did not inteifere with his liberty. It was a non-bail-
        able process.
           The order made at Special Term was correct, therefore, and must
        be affirmed, with ten dollars costs and the disbursements of this
        appeal.

          DAvis, P. J., and D       ffrELS,   J., concurred.

          Order affirmed, with ten dollars costs, besides disbursements.




        SARAH _1.BOSTWICK, -RESPONDENT, v. ADOLPH FRANK-
                       FIELD, APPELLANT.
                      Contractof sale of land by landlord to tenant - effect of.

        In 1870 the defendant leased to one Thrall certain lots for three years, and
          verbally agreed to sell them to him at any time during the term for their fair
          market value. Thrall entered into possession and erected a church with
          defendant's knowledge, by means of gifts and loans made to him. April 28,
          1871, a contract was made, by which defendant agreed to sell the lots to Thrall




                                               ADD4
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                   Long’s Case (1676-77) 86 Eng. Rep. 1012 (ADD5-ADD6)




       1012            HILARY TERM,         28   AND   29 CAR. 2.    IN C. B.         2 MOD. 182.


       party whether the sheriff take one or more security, that being in his discretion ;
       some he must take, for otherwise it is directly in opposition to the statute ; neither
       is it material to the party whether they are such as are sufficient, for if they are not,
       and the defendant is thereupon discharged, this will not amount to an escape;
       because nothing is done but what is pursuant to the statute, and therefore he is no
       otherwise chargeable than by amerciaments. The statute was made and intended for
       the benefit of the debtor, not of the creditor; and there might be some colour for the
       action if the sheriff might return that he let him to bail, for then it might have been
       necessary to have alledged the sufficiency of them, which might have been traversed ;
       but now he must pursue the substance of the statute so far as to take bail ; he is the
       proper judge of the sufficiency, and when the bail is taken he must return a cepi
       corpus; so that he is only to be amerced till he bring in the body, but an escape will
       not lie against him (a).

                                     CASE    108.   LONG'S CASE.

        It is a contempt to make an arrest in Palace Yard sedente'Curi.-S. C. 1 Lev. 166.
           One Long was arrested in the 'Palace Yard, not far distant from the hall gate,
       the Court being then sitting; and being an attorney of this Court, he, together with
       the officer, was brought into Court, and the officer was committed to the Fleet, that
       he might learn to know his distance.
           And because the plaintiff was an attorney of the Court of King's Bench, who
       informed this Court, that his cause of action was for two hundred pounds ; therefore
       the Court ordered that another of the sheriff's bailiffs should take charge of the
       prisoner, and that Mr. Robinson, the Chief Prothonotary, should go along with him to
       the Court of King's Bench ; which was done, and that Court, being informed how the
       case was, discharged the defendant upon filing of common bail.
           [182] The writ upon which this Long was arrested was an attachment of privilege,
       which the Court supposed to be made on purpose to oust him of his privilege; for
       there was another writ against him at the sheriff's office at the suit of another person.


                    CASE   109.   THE COUNTESS OF NORTHUMBERLAND'S CASE.

            Knights must be of the jury where a peer is concerned.-S. C. 1 Mod. 226.
           Adjudged, that where a peer is party, either plaintiff or defendant, two or more
       knights must be returned of the jury (a).
           It was said, that in Cumberland there was but one freeholder who was a knight,
       besides Sir Richard Stote, a serjeant at law.-And the Court were of opinion, that
       rather than there should be a failure of justice a serjeant of law ought to be returned
       a juryman, for his privilege would not extend to a ease of necessity.
           (a) In the case of Sir William Rtouse v. Patterson, Hilary term, 13 Geo. 2, in B. R.
       it was held, that an action lies against a sheriff for taking insufficient pledges in
       replevin. Note to the Fourth Edition.-See Rex v. Lewis, 2 Term Rep. 617, that the
       Court will not grant an attachment against a sheriff for neglecting to take a
       replevin-bond.
           (a) But now by the 24 Geo. 2, c. 18, challenge to the panel for want of a knight
       where a peer is party is taken away.




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    2 MOD. 183.     HILARY TERM,       28 AND 29 CAR. 2.             IN B. R.         1013

                                        HILARY TERM.

    The Twenty-Eighth and Twenty-Ninth of Charles the Second.           In the King's Bench.
    Sir Richard Rainsford, Knt., Chief Justice. Sir Thomas Twisden, Knt., Sir William
      Wylde, Knt., Sir Thomas Jones, Knt., Justices. Sir William Jones, Knt., Attorney
       General. Sir Francis Winnington, Knt., Solicitor General.

                              CASE   110.   BELL   against KNIGHT.
    A statute imposing a duty on "every fire-hearth and stove in any house," extends
      to smiths forges, although there is a proviso exempting "any blowing-house, stamp,
      furnace, or kiln," from the payment of such duty.-Post, 186.
        In an action of trover, upon not guilty pleaded the jury found a special verdict,
    in which the point was upon the construction of the statute of 14 Car. 2, c. 10, for
    the establishing of an additional revenue upon the King, his heirs, and successors, for
    the better support of his and their Crown and dignity ; by which it is enacted, "that
    for every fire-hearth and stove in every house the yearly sum of two shillings shall
    be paid to the King, other than such as in the said Act are exempted :" then comes
    a proviso, which saith, "that this Act shall not extend to charge any blowing.house,
    stamp, furnace, or kiln, &c."
        The question now was, whether a smith's forge shall be charged with this duty ?
        Winnington, Solicitor General, conceived, that all fire-hearths are liable within the
    body of the Act; that there is nothing to exempt them but what is in the exception ;
    and then a smith's forge cannot be called a blowing-house within the intent of the Act,
    notwithstanding the jury have found that smiths use bellows to blow their forges ;
    for by blowing-houses such houses are meant as are in Staffordshire and Suffolk for the
    making of iron. These were the blowing-houses intended by the Parliament to be
    excepted, and no other; for if smiths forges had been meant thereby, those would
    have been inserted in the proviso as well as the other things therein-mentioned.
    [183] Words are to be taken in a common understanding ; and if a traveller should
     enquire for a blowing-house, nobody would send him to a smith's forge.
        By the opinion of the whole Court it was adjudged upon the first argument, that
     smiths forges are liable to this duty.
        And the solicitor said, it had been lately adjudged so in this Court by the opinion
    of Twisden, Wylde, and Rainsford, Justices ; and that Hale, Chief Justice, was of the
     same opinion.
        But Twisden, Justice, said, that neither the Chief Justice nor himself gave any
    judgment upon the merits, but upon a point in pleading.

                                        HILARY TERM.

                  The Twenty-Eighth and Twenty-Ninth of Charles the Second.
                                    In the Common Pleas.
    Sir Francis North, Knt., Chief Justice. Sir Hugh Wyndham, Knt., Sir Robert
       Atkins, Knt., Sir William Scroggs, Knt., Justices. Sir William Jones, Knt.,
       Attorney General. Sir Francis Winnington, Knt., Solicitor General.

             CASE 111.   STROUD   against THE BISHOP oF, BATH AND        WELLS AND
                                     SIR GEORGE HORNER.

    In quare impedit, a declaration that A. was seised in fee of the manor to which the
      advowson is appendant, and presented B. and then granted the next avoidance to
      the plaintiff, and that by the death of B. he was intitled to present, is good, without
      stating that the presentation to B. was tempore Tacis.-S. C. 1 Mod. 230.
        Quare impedit.-The plaintiff alledges, that Sir George Horner was seised in fee of
    the manor of Dowling, to which the advowson was appendant; that being so seised
    he presented one Harding, and then granted the next avoidance to the plaintiff; that




                                            ADD6
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                       Orchard’s Case (1828) 38 Eng. Rep. 987 (ADD7-ADD8)




    6RyiSA. lSg.                      OkCHARD S CASE                                   987
    Practice of the Office of Pleas, 496.) The only effect, therefore, of the course which
    Plaskett has taken is, that his adversary can sustain no injury by delay, but may
    still have the fruit of his judgment. The alleged misrecital in the writ could be
    cured by amendment under the 5 G. 1, c. 13.(1) The amendment could be made
    by the House of Lords; and the Court of Chancery ought not to take upon itself
    to determine, whether the higher tribunal will permit such an amendment to be
    made or not.
         Mr. Sugden in reply contended, that the court, out of which the writ issued,
    seeing that it contained state-[158]-ments contrary to the truth, would supersede
    it without speculating on the chance of its being hereafter amended; especially,
    where it was intended as a mere instrument of delay. No injury would be done
    by superseding the writ, because the party could still have such writ of error as lie
    was entitled to, according to the truth of his case.
         The Lord Chancellor [Lyndhurst]. The former writ of error having been non-
    prossed, Plaskett had no right to sue out a writ of error, reciting that the judgment
    had been affirmed in the Court of Exchequer Chamber. He has, therefore, sued
    out a writ which is not sustainable in its present form. He says that lie can amend
    it; but I must deal with it in its present form, especially as I am satisfied that it is
    brought for delay.
         The writ was ordered to be superseded with costs.

        (1) The statute enacts, " That all writs of error, wherein there shall be any vari-
    ance from the original record, or other defect, may and shall be amended and made
    agreeable to such record by the respective courts where such writ or writs of error
    shall be made returnable."



                         [159] ORCHARtD'S Case. July 19, 1828.
    A person having been taken in execution upon a ca. sa. within the outer door of
      the Vice-Chancellor's Court in Lincoln's Inn, while the Court was sitting, the
     Lord Chancellor ordered the officer to attend with his prisoner forthwith, and
      having examined the officer, discharged the prisoner immediately.
        Mr. Wakefield, on behalf of a solicitor of the name of Orchard, stated, that Orchard
    had been this morning taken in execution either in the body of the Vice-Chancellor's
    Court in Lincoln's Inn, or in the space between the outer and the inner doors, both
    doors being open, and while the Vice-Chancellor was sitting for the despatch of
    business. The circumstance was immediately mentioned to the Vice-Chancellor,
    who was requested to order the discharge of the prisoner forthwith; but his Honor,
    doubting whether he had jurisdiction, directed the matter to be brought before
    the Lord Chancelor.
        It was admited that Orchard was not in court for the purpose of professional
    attendance, or of discharging any professional duty.
        Mr. Wakefield, after narrating these circumstances, submitted that every place,
    in which the Judges of the King's superior courts were sitting, was privileged, and
    that no arrest could be made in their presence or within the local limits of the place
    where they were administering justice. To permit arrest to be made in the Court
    would give occasion to perpetual tumults, and was altogether inconsistent with
    the decorum which ought to prevail in a high tribunal. Sir William Waller's case
    (Cro. Car. 373). Lord Coke, in his Third Institute (page 141), says, "The King's
    palace at Westminster hath this libertyand privilege, viz. nullce citationesaut summon-
    itiones liceant fieri cuicunque infra [160] palatium Regis Westm. Like privilege
    hath Westminster Hall, or other place where the King's justices, &c., sit." " No
    arrest," says Blackstone, "can be made in the king's presence, nor within the verge
    of his royal palace, nor in any place where the King's justices are actually sitting."
    (3 Black. Com. 289.) Long's case (2 Mod. Rep. 181) is thus stated : " One Long
    was arrested in the palace-yard, not far distant from the hall gate, the Court being
    then sitting ; and being an attorney of the court, he, together with the officer,
    was brought into court, and the officer was committed to the Fleet, that he might
    learn to know his distance." Pigot v. Charlewood (Barnes, 200), Mantle v. 6rvb,




                                            ADD7
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                                       GR]TIAM 1).      ELLu                     t Atisk idi.
       (Ibid.), Willamson v. Jaques (3 T. R. 392), Ex parte Ledwich (8 Ves. 598), List's
       case (2 V. & B. 373).
           The Lord Chancellor ordered that the officer, who had made the arrest, should
       immediately attend with his prisoner.
           The officer, being on the floor of the court, was examined by the Lord
       Chancellor. He stated, that he had a writ of capias ad satisfaciendum against
       Orchard; that he saw Orchard in Chancery Lane, and hastened to arrest him, but
       that Orchard, having observed him, ran with all the speed he possibly could, and
       f ot within the outer door of the Vice-Chancellor's court, before lie could overtake
         in.
           The Lord Chancellor [Lyndhurst] immediately ordered Orchard to be discharged
       from custody ; and admonished the officer to beware of again acting in a similar
       manner.
                           [161] GRETHAM V. BELL. July 19, 1828.
       Where it is necessary to produce a record of the Court on the trial of an issue, the
        party must procure the proper officer to attend with it ; and an order will not
        be made directing the officer to deliver the record to any other person for the
        purpose of being produced.
           An issue had been directed to be tried at York, in order to ascertain whether
       the Plaintiff was one of the next of kin of an intestate; the Defendant, it was
       admitted, was one of the next of kin.
           Mr. Agar moved, on behalf of the Defendant, that the depositions of the Plaintiff's
       witnesses, sworn in the cause, might be delivered to the clerk of Mr. Serjeant Jones,
       in order to be produced on the trial, he undertaking to return them to the Six Clerk.
           It was stated, that the production of the original depositions was necessary, in
       order that the Plaintiff's witnesses might be asked whether the signatures to the
       depositions were in their respective handwriting, and might then be cross-examined
       on the matters contained in the depositions ; and the clerk of Mr. Serjeant Jones
       was selected, because, the Judges having left town, the depositions could not be
       intrusted to any of their clerks.
           As no person appeared to oppose the application, the Court assented to it.
           The Clerk in Court, however, refused to deliver up the depositions, until the
       matter should be again submitted to the Court.
           Accordingly, on the following day, the motion was renewed ; when Mr. Beames,
       for the Clerk in Court, stated, that no such order as was now asked had ever been
       [162] made; that the original records were never taken out of the custody of the
       Court, or its recognized officer; and that the order usually made in such cases,
       was, that the officer of the Court should attend with the record on having his
       expenses paid.
           Mr. Agar replied, that the enormous expense of procuring the attendance of
       the clerk in court with the record was the cause why the present motion was made,
       and was a sufficient reason why it should be granted.
           The Lord Chancellor. It appears that what the Court is now asked to do has
       never been done, and is contrary to the established usage. The application must be
       refused.
                [163] DEw v. CLARKE. July 31, August 1, 2, 3, 4, 19, Nov. 1, 1828a
                                        [S. C. 6 L. J. Ch. 186.]
       A commission of review will not be granted, unless there is clear error in law, or a
          clear mistake as to fact, in the judgment of the Court below, or unless the case
          involves an important and doubtful question of law, which ought to be decided
          in the most solemn form. A will was held to be invalid, on the ground that the
          testator, though sane in his general conduct, laboured under an unsound delusion
          of mind with respect to his only child.
           Ely Stott died on tho 18th of November 1821, at the age of seventy-two years,
       leaving a widow and an only child, a daughter. In February 1821, a commission
       of lunacy had been issued against him, under which he was found of unsound mind
       from the 1st of January 1821. In May 1818 he had executed a will, by which he




                                         ADD8
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                   Walpole v. Alexander (1782) 99 Eng. Rep. 530 (ADD9-ADD10)




     530              THE KING V. BOLY TRINITY IN WAREHAM                           3 DOUGL. 44.

     plaintiff, a rule to show cause why there should not be a new trial was obtained, and
     the only question made was on the construction of a grant from the plaintiff to the
     defendant, whether it operated as a grant of the fishery, reserving to the grantor only
     a right of fishery; or whether it excepted the sole fishery out of the grant. By the
     deed, Lord Paget granted "the mill, with all waters, streams, &c.necessary for working
     the mill, and usually held and enjoyed therewith, except and always reserved to the
     said Lord Paget, his heirs, &c., the right and privilege of fishing in the waters of the
     said mill." At the time of this grant, Lord Paget had a sole fishery in these waters.
         Dunning and Davenport showed cause.-This is not a reservation of a right of
     fishing, but an exception of the right of fishing, which Lord Paget possessed before,
     and which was a sole right. It is an exception of what the grantor had before, and
     did not choose to part with. By the grant, every thing necessary to the mill for
     driving and working it was granted, as well as for confining the water; but the words
     of the grant, had they stood alone, would not have carried the right of fishery. The
     exception, however, puts an end to all question.
         Wallace, A.-G., and Law, contra.-The words of the grant are sufficient to convey
     the soil of the water and of the ponds, and therefore it is clear that, without the
     reservation, Lord Paget could have had no title. Where a grant is made, all that the
     granting words used include, will pass by the grant (a)'. By the reservation, nothing
     more than the easement of fishing in the waters is reserved. The words of the reserva-
     tion are the words of the grantor, and shall be taken most strongly against him. Cu.
     Litt. 197. Plowd. 171. 1 Saund. 137. Those words will be fully satisfied by holding
     that an easement is reserved.
         Lord Mansfield.-If there are words in the English language which will not admit
     of a doubt, they are these [44] words. Lord Paget had water for a mill, and he had
     a sole fishery, and he grants the mill, with the water for the mill, reserving the fishery
     and the question is, whether the whole right of fishing is reserved, or whether a new
     right is created by it? The words are, "the right and privilege of fishing."
         Rule discharged.

     [45] CASEs  ARGUED AND DETERMINED IN THE COURT OF KING's BENCH, IN
       HILARY TERM, IN THE TWENTY-SECOND YEAR OF THE REIGN OF GEORGE III.

              THE KING V. INHABITANTS OF THE         HOLY   TRINITY IN WAREHAM.
                                  Saturday, 26th January, 1782.
                                    (Reported, Caldecott, 141.)

     WALPOLE      v. ALEXANDER (a)2. Friday, 1st February 1782. A witness coming from
           abroad to give evidence in a cause here, without being served with a subpcena,
           is privileged from arrest.
          The defendant obtained a rule to show cause why be should not be discharged
     out of custody on filing common bail. The application was made on three grounds;
     1. That he had come from France as a witness in a cause of Simond v. Hankey, to be
     tried at the sittings; 2. That he had been discharged by a commission of bankrupt
     subsequent to the debt for which he was arrested; and 3. That a suit was depending
     in France respecting the same subject matter.
          The Attorney-General and Cowper showed cause. As to the privilege of the
     defendant as a witness, it appears that he arrived in London on the 20th of
     December, 1781. On the seventeenth of that month the cause in which he was [46]
     to be a witness was put off, in consequence of a letter received from him, stating
     that be could not attend until after the next term. He swears in his affidavit, that
     on coming to town he was served with a subpana, by his own desire, which was on
     the 20th of December, the last day of the sittings. Whether the subpoena was for the
     sittings after the last or the next term, does not appear on the affidavit; but as no
     subpoena issued after the 12th of December, it must have been for the last term.
     when, by consent, the cause was postponed. He was arrested on the 28th of Decembei.
                 (a)1 Tkrockmerton v. Tracy, C. B., 2 & 3 P. & M., Plowden, 151.
                 (a): S. C. cited Tidd's Pr. 198, 8th edit.




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    3 D)OUGL 4..                     THE KING V. KEEL                                    531
     at which time there was no process by which he could be compelled to attend as
     a witness. The protection afforded to witnesses is not on their own account, but for
     the purposes of justice; and when the defendant found that the cause could not come
     on at those sittings, and that it was unsafe for him to remain, he might have returned.
     It is stated in the affidavit, that an application was intended to be made for permission
     to examine him upon interrogatories; but that allegation is insufficient, for the consent
     of both parties is necessary to that proceeding, and it does not appear that it could
     have been obtained. [The Court giving no opinion on the two latter grounds of the
     application, the arguments of counsel on those heads are admitted.]
         Lord Mansfield (stopping Dunning, who was for the rule). This is the first case
     of a witness coming from abroad who has required the protection of the Court. That
     protection is extended to witnesses coming from abroad, as well as to those who are
     resident in this country. Although in England a party may have the benefit of the
     evidence of a witness who has been arrested, by means of a habeas corpus ad testifi-
     candum, yet, in order to encourage witnesses to come forward voluntarily, they are
     privileged from arrest. This privilege protects them in coming, in staying, and in
     returning, provided they act bonA fide, and without delay, which is a question of
     reasonableness. Every reason which applies to the protection of a witness at home,
     holds more strongly with regard to a witness who comes from abroad. The creditor
     is not injured by his coming; for unless he came, there would be no opportunity of
     arresting him. The service of the subpoena abroad would be an useless form; he
     cannot be punished for not coming; if he comes at all, then it must be voluntarily.
     The cause depending on the [47] evidence of a witness who is out of the country, the
     time of trial must necessarily be uncertain. The only question then to be considered
     is, whether, in such case, the witness comes bon& fide or collusively.
         There never was a fairer case than the present. The parties would not consent
     to examine the witness upon interrogatories, or to put off the trial; an application
     was therefore made to me, upon affidavits and letters from the witness. I proposed,
    and it was so settled, that at all events the cause should go on after this term, whether
     the witness came or not. In the mean time he arrived, before the sittings were over;
    but I do not wonder that the parties did not apply to bring on the cause, for it was
    near Christmas. It is admitted that he was protected for some time;-why not
    until the next sittings? Was he to go back again to Paris, merely to return here
    this term, putting the parties to an enormous expense? I am of opinion, that all
    the rules which apply to the protection of witnesses here, hold with regard to witnesses
    coming from abroad, and that the defendant must be discharged.
         Ashurst and Willes, Justices, of the same opinion.
         Buller, Justice.-It is not true that the privilege of a witness depends upon the
    subpoena. I have found a case (E. 27 Car. 2) where a man was discharged who came
    to London to make an affidavit which might have been made in the country; but it
    was for the furtherance of justice, and he was therefore protected. No subpcena is
    necessary where the witness lives abroad.
         Rule absolute.
         The discharge, being on the privilege, was without the terms of filing common bail.

          THE KING V. INHABITANTS OF KEEL.           Wednesday, 6th February, 1782.
                                  (Reported, Caldecott, 144.)

                   THE KING V. JAMES RODD.     Wednesday, 6th February, 1782.
                                  (Reported, Caldecott, 147.)

                   [48] THE KING V. MORGAN.      Saturday, 9th February, 1782.
                                  (Reported, Caldecott, 156.)

     THE KING V. INHABITANTS OF COVENT GARDEN.              Saturday, 9th February, 1782.
                                  (Reported, Caldecott, 158.)




                                            ADD10
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           David Graham, Treatise on the Practice of the Supreme Court of the
               State of New-York (2d ed. 1836) (excerpt) (ADD11-ADD17)




                               TREATISE

                                        ON THE




       PRACTICE OF THE SUPREME COURT


                                        OF THE




                   STATE           OF NEW-YORK.




                       BY DAVID            GRAHAM, JuN.
                                 COUNSELLOR AT LAW.




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                                     TO THE



                   HON. JOHN SAVAGE,
                                       LATE


           CHIEF JUSTICE OF THE STATE OF NEW-YORK,

                                    THIS WORK


                        IS RESPECTFULLY DEDICATED,

                                  IN TESTIMONY

                 OF THE SENSE WHICH THE AUTHOR ENTERTAINS,


                                      OF THE

              KINDNESS HE HAS UNIFORMLY EXPERIENCED AT HIS HANDS,


                                     NO LESS

                      THAN OF THE EXALTED ESTIMATION IN WHICH


                                     HE HOLDS

                 THE TALENTS,       LEARNING         AND DIGNITY,


             WHICH HAVE     DISTINGUISHED      HIS   JUDICIAL   CAREER.




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                             WHO MAY BE HIOLDEN TO BAIL.


        of the debtor liable to execution, it will not be regarded in this state ;
        2 Cowen, 626; it being well settled, that the lex loci contractus applies
        only so far as the nature, validity and construction of the contract is
        concerned, but has no application to the forms of judicial proceeding
        3 Mass. 84; 3 Cranch, 319 ; and our courts have uniformly denied any
        effect to mere personal discharges, beyond the boundaries of the state
        where they were granted; 1 Dall. 188; 2 Johns. Rep. 198 ; 7 Johns.
        117; 11 Johns. 194; upon the principle, that the statutes under which
        they are granted, are inapplicable, as a part of the lex loci contractus
        but constitute a part of the lexfori, merely. 14 Johns. 346; 2 Cowen,
        632. But, where the discharge goes beyond the mere imprisonment,
        and extends also to discharge the debt, the lex loci where it was grant-
        ed, applies, and forms a bar, not merely to the imprisonment, but to the
         action itself. 12 Johns. 142; 1 Cowen, 103 ; 2 Cowen, 633 ; 9 Peters,
         336; see also, 1 B. & Adol. 284.
           Parties to suits, and witnesses.] As a general rule, every person who
         has any relation to a suit, whether his presence be compulsory or not, is
         exempt from arrest, eundo, morando, et redeundo.     1 T. R. 69 ; 4 DalI].
         387 ; 3 Mass. 288. And, where a suitor, during a bonafide attendance
         at the sittings in which his cause was to be tried, was arrested, before
         the actual day of trial, in a coffee house adjacent to the court, he was
         ordered to be discharged. 11 East, 439. So, where a suitor attending
         a cause which was postponed early in the day, continued in court un-
         til five o'clock in the afternoon, and retired to a tavern, where he was
         arrested, during dinner, he was held entitled to his privilege redeundo.
         2 W. B. 1113.
            Nor is the party bound to go the nearest way home, if he do not abuse
         his privilege, for the purpose of going about other business of his own; 6
         Taunt. 358 ; 4 Dall. 329 ; the burden of shewing which, is upon the plain-
         tiff. 8 Bing. 166. Thus, when a party, returning from attendance in
         a court of justice, left the court at 5 o'clock, arrived at his office of
         business at twenty minutes after 5, left it at 7, and in going along the
         street, towards his house, went into a shop, where he was immediately
         arrested, it was held, that he was privileged from arrest. 3 Nev. &
         Man. 212. And a party coming from another place than that in which
         the court sits, is protected while at his lodgings, as well as when going
         to, or returning from court. 4 Dall. 387.
             This privilege extends to a party to an action which has been refer-
         red to the decision of the court, upon a case stated, while going to, at-
          tending or returning from court: 6 Mass. 245: or while attending an




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                              WHO MAY BE HOLDEN TO DAIL.


          appeal from another county, to the Supreme Court, 1 Binn. 77; et vide
          4 Serg. & Rawle, 149; or while attending or justifying bail; Barnes,
          27 ; or before an arbitrator under a rule at nisi prius; 3 East, 89; 1
          Caines, 116; or before inferior courts; I Brownl. 15; or for the pur-
          pose of opposing an insolvent's discharge; 2 Marsh. 57; 6 Taunt. 356;
          or under a recognizance to attend a court of general sessions ; 7 Johns.
          538, or before arbitrators, under the statute; 3 Cowen, 381 ; or before
         referees ; 2 Wendell, 257; although in this latter case, it extends only
         during the hearing and a reasonable time after, to enable the party to
         return to his residence, and does not embrace the time, in which the
         party is occupied in preparing papers, to move to set aside the report.
         Ibid. But the privilege of suitors does not extend to non-bailable pro-
         cess, or process on which no bail is demanded. 1 Wendell, 293.-
         "Had bail been required," says Savage, Ch. J. "all the relief the party
         would have been entitled to, would have been, to have been discharged,
         on filing common bail. The indorsing of an appearance is equivalent
         to filing common bail. No more was, therefore, asked of the defendant,
         than this court would have required, on application to them, had he
        been compelled to give bail, when the capias was served. This is the
        uniform practice of this court, (7 Johns. 538,) and the only exception
        is, in favor of foreign witnesses, attending our courts, in which cases,
        the defendants are discharged absolutely. 2 Johns. Rep. 294; 3 Cow-
        en, 393."-1 Wendell, 293.
           In a late case in England, it has been beld, that where a defendant
        was returning home, after being acquitted at the Old Bailey, upon a
        charge of stealing money, and was arrested for the same money, he
        was not privileged. 1 Dow]. Pr. Cas. 157; see 10 Wendell, 636.
           If the party, privileged by reason of his attendance in this court, be
       arrested by process out of an inferior court, 2 Johns. Rep. 294, or if he
       be arrested by process out of this court, in violation of the privileges of
       other courts, in either case, this court will discharge him on common
       bail. 7 Johns. 538; 6 Taunt. 356. And, if a party, coming to attend
       the trial of his cause, be arrested, the judge at nisi prius will discharge
       him, 1 Starkie, 471, and will put off the trial, without payment of costs,
       if any collusion can be shown to exist, between the opposite party and
       the creditor who arrested him ; otherwise, only upon payment of costs.
       1 Campb. 229. The party may, also, move the court, out of which the
       process issued, to discharge him on filing common bail. But on an ap-
       plication to the court for the discharge of the defendant, notice must be
       given to the opposite party, otherwise, only a rule to show cause why




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                            WHO MAY BE IIOLDEN TO BAIL.


       he should not be discharged, with a stay of proceedings in the mean
       time, will be granted. 1 Caines, 116. The ancient course was to
       issue writs of privilege in these cases, but the practice of discharging
       on motion, has long been established. It is also settled, that where a
       party to a cause is arrested on process issuing out of one court, while
       attending at nisi prius in another, he must apply to the judge at nisi
       prius, or to the court out of which the process issues, and not to the
       court in which the cause is, from which he derives his privilege. 2
       Dowl. Pr. Cas. 223.
          At common law, the privilege of witnesses, was placed upon the same
       footing, as that of suitors, while attending court, as well as eundo et
       redeundo, and was held to extend, not merely, to witnesses duly sub-
       pcenaed, but to those who attended without subpena. 8 T. R. 536 ;
        1 H. Bl. 636; 2 Johns. Rep. 294. It has, however, been made the
       subject of express enactment by the revised statutes, which provide,
        that every person duly and in good faith subpoenaed as a witness to
        attend any court, officer, commissioner or referee, or summoned to
        attend any judge, officer or commissioner, in any case where the at-
        tendance of such witness may by law be enforced by attachment, or
        by commitment, shall be exonerated from arrest in any civil suit, while
        going to the place, where he shall be required, by such subpoena, to
        attend, while remaining at such place, and while returning therefrom.
        2 R. S. 402, see. 51. The court or officer, before whom any person
        shall have been in good faith subpcenaed to attend as a witness, shall
        discharge such witness from any arrest, made in violation of the above
       provision; and if such court shall have adjourned, befbre such arrest
       was made, or before application for such discharge be made, any judge
       of such court shall have the same power to discharge such witness.
       Ibid. sec. 52. Every officer authorised to perform the duties of Su-
       preme Court commissioners, and the first judges of county courts shall
       have the like authority, to discharge any witness arrested contrary to
       the foregoing provisions. Ibid. sec. 53. Every arrest of a witness,
       made contrary to the foregoing provisions, is declared by statute, ab-
       solutely void ; and is deemed a contempt of the court issuing the sub-
       poena: and every person making such arrest, is made responsible to
       the witness arrested, for three times the amount of the damages which
       shall be found by the jury, and is also liable to an action at the suit of
       the party who subpoenaed such witness, for the loss, hindrance and
       damages sustained by him, in consequence of such arrest. Ibid. sec. 54.
       But no sheriff, or other officer or person, shall be so liable, unless the




                                     ADD16
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                             WHO MAY BE HOLDEN TO BA[L.


        person, claiming an exemption from arrest, shall, if required by such
        sheriff or officer, make an affidavit, stating 1, That he has been legally
        subpcenaed as a witness to attend before some court or officer, the
        place of attendance, and the cause in which he shall have been sub-
        pcenaed ; and 2, That he has not been subpoenaed by his own procure-
        ment, with intent of avoiding the service of any process ; which affi-
        davit may be taken by such officer, and when so taken, shall exone-
        rate such officer from all liability for not making such arrest. Ibid.
        see. 55.
           Seamen and soldiers in the public service.] The non.commissioned
        officers, musicians, seamen and mariners, who are, or shall be, enlisted
        in the service of the United States, and the non-commissioned officers
        and musicians, who are, or shall be, enlisted in the army of the United
        States, shall be exempted, during their term of service, from all person-
        al arrest, for any debt or contract. Ingers. Abr. 414, sec. 5. Armour-
        ers, gunners, &c., enlisted as common seamen, are within the meaning
        of the statute; Barnes, 114; so is every seaman, whose name is on
        the ship's books, notwithstanding he may have absented himself. Ibid.
        95. In regard to the first branch of this provision, contained in the
        5th section, above alluded to, it appears by a recent official order of
        the secretary of the navy, addressed to the officers of the navy, of the
        20th of May 1836, that "it has heretofore been decided, that midship-
        men were to be considered as exempted from arrest, for any debt or
        contract, under the provisions of the 5th section of the act of Congress of
        the 11 th of July, 1798, ' for establishing and organizing a marine corps,'
        which section is in these words :-' The non-commissioned officers,
        musicians, seamen, and marines, who are or shall be enlisted into the
        service of the United States, shall be, and they are hereby exempted,
        during their term of service, from all personal arrests for any debt or
        contract.'" The order therefore, after reciting the fact, proceeds:-
        "Doubts having arisen as to the correctness of this decision, the
        subject has been carefully examined by the Attorney General of the
        United States, whose opinion is, that under that section, midshipmen
        cannot be considered as exempted from arrest, for debts or contracts;
        and as I fully concur in this opinion, it is decided by this department,
        that midshipmen in the navy of the United States are not to be consi-
        dered, as exempted from arrest, within the meaning of the foregoing
        section."
           The act of congress further provides, that all non-commissioned of-
        ficers, artificers, privates, and musicians, who are, or who shall be en-




                                    ADD17
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                   6 Matthew Bacon, A New33   Filed of11/05/19
                                         Abridgement   the     Page 55 of 64
                          Law (7th ed. 1832) (excerpt) (ADD18-ADD21)




                                                 NEW

              9fbrbqrmrnt of Or taw.
                               BY MATTHEW                            BACON,
                                  OF THE         MIDDLE TEMPLE,         ESQ.




                        THE SEVENTH EDITION, CORRECTED;
           WITH LARGE    ADDITIONS,     INCLUDING THE       LATEST    STATUTES    AND    AUTHORITIES.




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                                        IN EIGHT VOLUMES.

                                                VOL. VI.


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                                                      1832.




                                                ADD18
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      520,                                                PRIVILEGE.
       attorney suing    he seems regardless of his privilege, and is to be considered as a
       bYvegi alp.       person at large.
       vilege.     Hetherington v. Lowth, 2 Stra. 837.
       2 Ld. Rayin.         On a motion to discharge a rule which had been obtained for
       1556. Fitzg.
       40. S.C.          changing the venue, it appeared, that the plaintiff was a barrister
       Burroughs v.      and master in chancery; and the court held, that he had a pri-
       Willis. 2 Stra.   vilege, by reason of his attendance, to lay his action in Middlesex,
       822. Barnard.     and therefore discharged the rule.
       K. B. 14.
       1 Price, 384.n.      [IAn attorney (not being one of the four attornies of the court
                         of Exchequer) is not in that court entitled to the privilege of
                         laying his venue in Middlesex.
       7 Taunt. 146.        If the plaintiff, an attorney, by mistake lay his venue in another
       S.C. 2 Marsh.     county instead of Middlesex, the Court of C. B. will not amend in
       426.; et vide
       2 Marsh. 152.     order to change it. II
                          2. Of the Privilege and Protection allowed those whose Attend-
                                            ance is necessarily required.
                                                                                     -
                                  1. .
                                  rlk    . .*   ^   .   11 ...   .1.1   ..   .   k       .    .   .1    .   . .
       B3rownl. 15.          te    aw not, ony alows pr v eges to 1, e ocers 0s te                      courL,
       Raym. 101.        but also protects all those whose attendance is necessary in courts;
       2 Mod. 181.       so that if a suitor is arrested either in the face of the court, or
       2 Roll.Abr.       out of the court, as he is coming to attend and follow his suit, or
       272. Golds 33.
       (a) If he knew    upon his return, it appears upon complaint made thereof, that the
       that the party    fact was so, the court will not only discharge the party from the
       was prosecut-     arrest, but will punish the officers or bailiffs, as also the plain-
       ing or defend.    tiff (a) who procured the arrest, as for a contempt to the court.
       ing any suit ;
       because an affront to the court, as well as an injury to the party arrested.          2 Lil. Reg. 369.
       Mich.26Car.2.   Serjeant Scroggs, entering his coach at the door of Westminster-
       in C. B.      hall, was arrested upon latitat out of B. R., and complaint being
                         made thereof in C. B., it was agreed, that not only seijeants at
                         law, but all other persons whatsoever, are freed from arrests so
                         long as they are in view of any of the courts at Westminster, or
                         if near the courts, though out of the view, lest any disturbance
                         may be occasioned to the courts or any violence used, which in
                         such cases is very penal. In this case the serjeant was discharged
                         of the arrest by rule of court, and the judges said, that if the
                         plaintiff should bring an action against the sheriff for an escape,
                         they would commit him. The bailiffs who made the arrest were
                         committed to the Fleet, but the next day, upon their submission
                         and acknowledgment, were discharged, paying their fees.
       2 Mod. 181.          So, where one Long, an attorney of C. B., was arrested in
       Long's case.      Palace-yard,not far from the Hall gate, sitting the court, he to-
                         gether with the officer was brought into court, and the officer
                         committed to the Fleet; and because the plaintiff was an attorney
                         of B. R. who informed the Court of C. B. that his cause of action
                         was .2001., the court ordered that another of the sheriff's bailiffs
                         should take charge of the prisoner, and that the prothonotary
                         should go with him to the Court of B. R., and that court, being
                         informed how the case was, discharged the defendant on common
                         bail. The writ upon which he was arrested was an attachment
                                                                                          of




                                                    ADD19
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       (B) Privileges in Suits of Offiers of Courts, 8Sc. (Witnesses.)                                531

       of privilege, which the court supposed to be designed to oust him
       of his privilege; for there was another writ against him at the
       sheriff's office, at the suit of another person.
          If process bath issued against a husband, and in coming to                      Dyer, 377. a.
       defend it he and his wife are both arrested, the wife shall have                   pl. So. Bro.
       privilege as well as the husband; for they are considered as one                   Priv. 17.; et
                                                             her husband.                  ide Noy, 68.
       person in law, and the wife cannot answer without
          If the court give either plaintiff or defendant leave to enquire                2Rol.Abr.272.
       after evidence in any cause depending in that court, and he be                     [(a)this,
                                                                                          of   But for
                                                                                                    qutre
                                                                                                       the
       arrested, he shall have privilege; but it is otherwise if he go                    returning has
       without the permission of the court. So, if one on the day be                      never been
       has been attending his cause be arrested at ten o'clock at night, by               very nicely
                                                                                          scanned, so as
       one noway engaged in the cause, he shall not have privilege. (a)                   to require a
       man to go the direct road. Bro. Privilege, 4. allows that the protection is not forfeited by the
       plea of extra viam, because it may be tht party went to buy a horse, victuals, or other neces-
       saries for his journey. Neither is the law so strict in point of time as to require the party to
       set out immediately after the trial is over, as in the case of Hatch v. Blisset, infras, and Gilb.
       R. 308. The defendant, an old woman, had a trial at Wi chester assizes, which was over
       on Friday at four in the afternoon: she stayed there till after dinner on Saturday,and in the
        evening at seven was arrested going home to Portsmouth, which is twenty miles : and the
        court held, that she ought to be discharged, that her protection was not expired, and a little
       deviation or loitering would not alter it. And in a later case, where the defendant was at-
       tending his cause at the sittings, and though it was put off early in the day, stayed in court till
       five in the afternoon, and then went with his attorney and Witnesses to dine at a tavern, where
       he was arrested during dinner; the court held, that such a necessary refieshment as this ought
       not to be looked upon as a deviation, so as to cancel the defendant's privilege redeundo.
       Lightfoot v. Cameron, 2 Black. R. 1113.] 11But where a party in London was required to attend
       an arbitration at Exeter on a given day, and three days before set off, accompanied by his at-
       torney, and went to Clifton, where his wife resided, and where were some papers necessary to
       be produced, and was occupied for a great part of two days in sorting and arranging them;
       and on the afternoon of the second day was arrested : held, that he had forfeited his privilege
       by the delay: Abbott C. J. diss. Randall v. Gurney, 3 Barn. & A. 252. But the majority of
       the Court of Exchequer held the party privileged under these circumstances. 7 Price, 699.
       A witness is not privileged from being arrested by his bail: the bail may take him, after he has
       finished his evidence, for the purpose of surrendering him. Ex parte Lyne, Ry. & Moo.
       Ca. 132.11
         A. has a suit against B. in C. B., and afterwards B. is arrested                Jenk. 173.
      in an inferior court, when he was not coming to or returning from
      the defence of his suit; he shall not have privilege.
         A person coming to give security of the peace, it was held he                   Comb. 29.
      was privileged; if he had come to have sworn the peace, the                        The King.
      arrest would have been allowed.                                  Fielding.
         So, where one came to confess an indictment, the court held   2 Salk. 544.
      he had no privilege eundo et redeundo, because there was no pro- pl. 6. ; sed vide
      cess against him.                                                                  is.fra.
         The courts not only protect the parties themselves, but all                     Vent. 11.
      witnesses are protected eundo et redeundo; for since they are                      Mod. 66.
      obliged to appear by the process of the court, they will not suf-
      fer any one to be molested whilst he is paying obedience to their
      writ.
         [And it hath lately been laid down by the court of C. P. as a                   Meekins v.
      general rule, that all persons who have relation to a suit which                   Smith, 1H.BI.
      calls for their attendance, whether they are compelled to attend                   636
      by process or not, are entitled to privilege from arrest eundo et
      redeundo, provided they come bonafde. And in this description
      bail and barristers upon the circuit are included.]
                                    Mm2                           Also,




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                                                 PRIVILEGE.
       2o H. 6.4.         Also, the courts not only protect the persons of their attend-
       Bro. Priv.   55.ants, but likewise all those things that are necessary for their
       2Rol.Abr. 273. journey or the defence of their suit; but not merchandizes or
                       goods for sale or traffic.
       Kinder v. Wil-     [The court of B. R. hath refused to discharge a person in
       liams, 4 Term custody by process of the sheriff's court in a cause afterwards
       R.377. But see removed into B. B., because he was arrested whilst attending
       Ex parte Ker- commissioners of bankrupt
       ney, 1 Atk. 55.                                 to prove a debt.]
       Ex parte Dick, and Exparte Stow, 2 Black. R. 1142.
       Childerston v.     11A plaintiff, in expectation of his cause coming on, is privileged
       Barrett,        from arrest while waiting in the vicinity of the court before the
       11 East, 439. day of trial.
       Willingham v.      So also is a person attending the Insolvent Debtors' Court to
       Matthews,       oppose the discharge of a debtor.
       6 Taunt. 356.
       Rimmer v.            So also bail attending to justify.
       Green, 1 Maule & S. 638.
       Spencev.Stew-      So also a defendant in a cause attending an arbitrator to be
       art, 3East,89. examined under a rule of court.
       Sed vide 3 Barn. & A. 252. 7 Price, 699.

       Arding v.         So also a bankrupt attending a meeting of commissioners to
       Flower,        declare a dividend, although several years after his last examin-
       8 Term R. 554. ation.
       Nixon v. Burt,   But a capital burgess of a borough attending an election of
       1 Moo. 413.   co-burgesses under a summons from the mayor, issued in obe-
       S.C. 7 Taunt. dience to a mandamus directing the corporation to proceed to
       6S2.
                     such election, is not privileged during his attendance.
       Walters v.       If a plaintiff is arrested while attending the execution of a writ
       Rees, 4 Moo. of enquiry at his own suit the under-sheriff cannot discharge
       34.           him, but the court will do so on motion. I1

                                   3. In what Cases this Privilege is to be allowed.

       Sand. 67.
                             The privilege allowed officers of the court is to be understood
                          as extending only to such cases where the party who sues them
                          has sufficient remedy in their own courts: therefore, if a writ of
                          entry or other real action be brought against an attorney of B. R.,
                          he cannot plead his privilege; because, if this should be allowed,
                          the plaintiff would have a right without remedy: for the King's
                          Bench hath not cognizance of real actions.
       Ibid.                 So, if an attorney of C. B. be sued in an appeal, be shall not
                          have his privilege; for his own court hath not cognizance of this
                          action.
       Sid. 362.             So, if money be attached in an attorney's hands by foreign
       Sand. 67.       attachment in the sheriff's court in London, he shall not have his
       2 Keb. 546.     privilege; because in this case the plaintiff would be remediless;
       Turbill's case, for the foreign
       et vide 2 Leon.
                                       attachment is by the particular custom of London,
       156.           and does not lie at common law.
       4 Leon. 81.       In indictments, informations, or suits, in which the king alone
       2Rol.Abr. 274. is concerned, the officer shall not have privilege; for it would
       Lit. R. 97.    be unreasoonable that the court should allw protection to those
                                                                                    who




                                             ADD21
Case 1:19-cv-08876-JSR
                    3 WilliamDocument       33 Filedon11/05/19
                              Blackstone, Commentaries the     Page 59 of 64
                    Laws of England (1768) (excerpt) (ADD22-ADD26)




       COMMENTARIES
                              ON          THE


               L              A               W                  S
                                      OF



       ENGL                                     A N D.
              BOOK                THE             THIRD.


                                       BY

      WILLIAM                  B LAC KS TO NE,                         EsQ,
        SOLICITOR          GENERAL           TO HER          MAJESTY.




                       O      X     F O         R      D,
       PRINTED         AT     THE        CLARENDON                   PRESS.

                           M. DCC. LXVIII.


                                    ADD22
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     288                             PRIVATE                                BooK IIl.
     without force : for, as the bill of Middlefex was framed only for
     aaions of trefpafs, a defendant could not be arreffed and held to
     bail thereupon for breaches of civil contra&s. But to remedy
     this inconvenience, the officers of the king's bench deviled a me-
     thod of adding what is called a claufe of ac etiam to the ufual
     complaint of trefpafs; the bill of Middlefex commanding the de-
     fendant to be brought in to anfwer the plaintiff of a plea of tref-
     pafls, and alfo to a bill of debt ': the complaint of trefpafs giving
     cognizance to the court, and that of debt authorizing the arreft.
      In return for which, lord chief juftice North a few years after-
      wards, in order to fave the fuitors of his court the trouble and ex-
      penfe of fuing out fpecial originals, direaed that in the common
      pleas, befides the ufual complaint of breaking the plaintiff's clofe,
      a claufe of ac etiam might be alfo added to the writ of capias,
      containing the true caufe of a&ion; as, " that the faid Charles
      " the defendant may anfwer to the plaintiff of a plea of trefpafs
      " in breaking his clofe : and alfo, ac etiarn, may anfwer him, ac-
      ,, cording .to the cuftom of the court, in a certain plea of trefpafs
      "upon the cafe, upon promifes, to the value of twenty pounds,
         &c B." The fum fworn to by the plaintiff .is marked upon the
      back of the writ; and the fheriff, or his officer the bailiff, is then
      obliged a&ually to arreft or take into cuftody the body of the de-
       fendant, and, having fo done, to return the writ with a cepi cor-
      pus endorfed thereon.

          A N arreft muff be by corporal feifing or touching the defend-
      ant's body; after which the bailiff may juftify breaking open
      the houfe in which he is, to take him: otherwife he has no fuch
      power; but muft. watch his opportunity to arreft him. For every
      man's houfe is looked upon by the law to be his cafile of defence
      and afylum, wherein he flould fuffer no violence. Which prin-
       ciple is carried fo far in the civil law, that for the moft part not
       fo much as a common citation or fummons, much lefs an arreft,
       ,T:an be executed upon a man within his own walls h. Peers of
           Append. No. III. §- 3"                   life of lord Guilford. 99.
         SLilk' praft. Reg. t. a etiam,   North's      h Ff. z.4. 18- 1.




                                           ADD23
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      Ch. x9.                            WRONGS.                                          289
      the realm, members of parliament, and corporations, are privi-
      leged from arreffs ; and of courfe from outlawries i.And againft
      them the procefs to inforce an appearance muff be by fummons
      and diffrefs infinite, inftead of a capias. Alfo clerks, attorneys,
      and all other perfons attending the courts of juflice (for attor-
      neys, being officers of the court, are always fuppofed to be there
      attending) are not liable to be arrefted by the ordinary procefs of
       the court, but muff be fued by bill (called ufually a bill of privi-
      lege) as being perfonally prefent in court k. Clergymen perform-
      ing divine fervice, and not merely flaying in the church with a
      fraudulent defign, are for the time privileged from arreffs, by
      ftatute 50 Edw. III. c. 5. and i Ric. II. c. 16. as likewife mem-
      bers of convocation a&ually attending thereon, by ftatute 8Hen.VI.
      c. 3. Suitors, witneffes, and other perfons, neceffarily attend-
      ing any courts of record upon bufinefs, are not to be arrefted
      during their a&ual attendance, which includes their neceffary
      coming and returning. And no arreft can be made in the king's
      prefence, nor within the verge of his royal palace, nor in any
      place where the king's juffices are a&ually fitting. The king
      hath moreover a fpecial prerogative, (which indeed is very fel-
      dona exerted') that he may by his writ of proteelion privilege a
      defendant from all perfonal, and many real, fuits for one year at
      a time, and no longer; in refpea of his being engaged in his
      fervice out of the realmm. And the king alfo by the common
      law might take his creditor into his protection, fo that no one
      might fue or arreft him till the king's debt were paidn: but by the
      ftatute 25 Edw. III. ft. 5. c. 19. 'notwithftanding fuch proteaion,
      another creditor may proceed to judgment againft him, with a
          'Whiteock of pan. 2o6, 207.                 "je& to other mens a&ions ; left he might
          k Bro. ,4hr.t. bille. 29. 12 Mod. 163.      "be thought to delay juftice." But king
         I SirEdward Coke informs us, (a Infl.        William, in x69 z, granted onetolordCutts,
       t .) that herein "he could fay nothing of      to prote& him from being outlawed by his
       ' h;s own experience; for albeit queen Eli-    taylor: (3Lev. 332.) which is the laft that
       "7abeth maintained many wars, yet fhe          appears upon our books.
         granted few or no protections : and her         m Finch. L: 4-54. 3 Lev. 332.
         reafon wa., that be was no fit fubje& to        ' F.N. B. z8.    Co. Litt. x31.
         be empioved in. her fervice, that was fub-
          VO L. III.                                  Nn                                    flay




                                           ADD24
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     290                      PRIVATE                       BooK i1.
     Ray of execution, till the king's debt be paid; unlefs fuch cre-
     ditor will undertake for the king's debt, and then he fhall have
     execution for both. And, laftly, by ftatute 2-9 Car. II. c. 7. no
     arreft can be made, nor procefs ferved upon a funday, except for
     treafon, felony, or breach of the peace.

        WH E N the defendant is regularly arrefted, he muff either go
     to prifon, for fafe cuftody ; or put in fpecial bail to the fheriff.
     For, the intent of the arreft being only to compel an appearance
     in court at the return of the writ, that purpofe is equally an-
     fwered, whether the fheriff detains his perfon, or takes fufficient
     fecurity for his appearance, called bail (from the French word,
     bailler, to deliver) becaufe the defendant is bailed, or delivered,
     to his fureties, upon their giving fecurity for his appearance; and
     is fuppofed to continue in their friendly cuftody inftead of going
     to gaol. The method of putting in bail to the lheriff is by en-
     tering into a bond or obligation, with one or more fureties (not
     fiitious perfons, as in the former cafe of common bail, but real,
     fubftantial, refponfible bondfinen) to infure the defendant's ap-
     pearance at the return of the writ; which obligation is called
     the bail bond °. The fheriff, if he pleafes, may let the defend-
     ant go without any fureties ; but that is at his own peril: for,
     after once taking him, the fheriff is bound to keep him fafely,
     fo as to be forthcoming in court; otherwife an action lies againft
     him for an efcape. But, on the other hand, he is obliged, by
     ftatute 23 Hen.VI. c. io. to take (if it be tendered) a fufficient
     bailbond : and, by fitatute 12 Geo. I. c. 29. the fheriff fhall take
     bail for no other fum than fuch as is fworn to by the plaintiff,
     and endorfed on the back of the writ.

        U P o N the returi of the writ, or within four days after,
     the defendant muff appearaccording to the exigency of the writ.
     This appearance is effeded by putting in and juftifying bail to
     the a&ion; which is Lommonly called putting in bail above. If
     this be not done, and the bail that were taken by the fheriff
                             9 Append. N . III.   .S..              blow




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      Ch.r 9 .                 WRON GS.                            29t
      below are refponfible perfons, the plaintiff may take an aflign-
      ment from the fheriff of the bail-bond (under the flatute 4 &
       5Ann. c. 16.) and bring an affion thereupon againft the fheriff's
      bail. But if the bail, fo accepted by the fheriff, be infolvent
      perfons, the plaintiff may proceed againft the Iheriff himfelf,
      by calling upon him, firlt, to return the writ (if not already
      done) and afterwards to bring in the body of the defendant.
      And, if the fheriff does not then caufe fufficient bail to be put
      in above, he will himfelf be refponfible to the plaintiff.

          TB. bail above, or bail to the aalion, muff be put in either
       in open court, or before one of the judges thereof; or elfe, in
       the country, before a commiffioner appointed for that purpofe by
       virtue of the flatute 4 W. & M. c. 4. which muff be tranf-
       mitted to the court. Thefe bail, who muff at leaR be two in,
       number, muff enter into a recognizance P in court or before the
      judge or commiffioner, whereby they do jointly and feverally
       undertake, that if the defendant be condemned in the a&ion
       he fhall pay the cofts and condemnation, or render himfelf a
       prifoner, or that they will pay it for him: which recognizance
      is tranfmitted to the court in a flip of parchment intitled a bail
      piece q. And, if required, the bail muff juflify themfelves in
      court, or before. the commiffioner in the country, by fwearing
      themfelves houfe-keepers, and each of them to be worth double
      the fum for which they are bail, after payment of all their debts.
      This anfwers in fome meafure to the flipulatio or Jifdatio of
      the Roman lawsr, which is mutually given by each litigant party
      to the other: by the plaintiff, that he will profecute his fuit,
      and pay the coffs if he lofes his caufe; in like manner as our
      law fill requires nominal pledges of profecution from the plain-
      tiff: by the defendant, that he fhall continue in court, and
      abide the fentence of the judge, much like our fpecial bail;
      but with this difference, that the ftdejujores were there abfo-
      lutely bound judicature]blvere, to fee the cofts and condemna-
       P Append. No. II. §5.            r Inti. 1 4. t. i.   Ff.Jz.t.8.
       ' IbM.
                                      N n   2                             tion




                                 ADD26
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                            CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the accompanying Memorandum of
Law by using the CM/ECF system on November 5, 2019.

       I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.

Dated: November 5, 2019
New York, NY

                                                . /s/ Matthew Colangelo .
